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                            United States District Court
                                      for the
                            Southern District of Florida

    Bluegreen Vacations Unlimited,       )
    Inc. and Bluegreen Vacations         )
    Corporation, Plaintiffs,             )
                                         )
                                           Civil Action No. 20-24681-Civ-Scola
    v.                                   )
                                         )
    Timeshare Lawyers P.A., and          )
    others, Defendants.                  )

                    Verdict and Order Following Non-Jury Trial
          In this trial, the Court has learned that tens of thousands of timeshare
   owners have been victimized twice: first by the timeshare industry, which used
   false and misleading tactics to induce the owners to purchase their timeshares
   —often financed with high-interest mortgages; and second by the timeshare
   exit industry, which charged the owners thousands of dollars and used false
   and misleading tactics to tortiously induce them to breach their contracts with
   the timeshare companies, thus exposing them to damaged credit.

         1. Procedural Background
          Bluegreen Vacations Unlimited and Bluegreen Vacations Corporation
   (collectively “Bluegreen”) filed this action seeking relief from a multi-party
   scheme to induce Bluegreen timeshare owners to breach their timeshare
   contracts.
          While Bluegreen initially instituted the action against all those
   purportedly involved in the scheme, as a result of various settlement
   agreements and the Court’s decisions on dispositive motions, only the
   Defendants Pandora Marketing, LLC, and its owners, Rich Folk, and William
   Wilson (collectively, the “Marketing Defendants”) remain. As suggested by their
   name, the Marketing Defendants’ role in the scheme is to advertise timeshare
   exit services by promoting a legitimate process to exit timeshare contracts
   while protecting the customers’ credit. In reality, theirs was not a legitimate
   process and instead merely induced Bluegreen owners to breach their
   timeshare contracts through nonpayment, thus injuring many of their credits.
          Bluegreen brought claims against the Marketing Defendants for false
   advertising in violation of the Lanham Act (Count One), tortious interference
   with contractual relations (Count Five), civil conspiracy to commit tortious
   interference (Count Seven), and violation of Florida’s Deceptive and Unfair
   Trade Practices Act (“FDUTPA”) (Count Six).
          Previously, the parties filed cross-motions for summary judgment, and
   on May 2, 2023, the Court issued an omnibus order addressing the motions.
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   (Summ. J. Order, ECF No. 437.) The Court denied the Marketing Defendants’
   motion for summary judgment in its entirety and granted in part and denied in
   part Bluegreen’s motion for partial summary judgment. Specifically, the Court
   granted summary judgment in Bluegreen’s favor only with respect to its claim
   for tortious interference as to fifteen timeshare owners (except as to the issue of
   damages); its claim for injunctive relief pursuant to FDUTPA; and on the
   Marketing Defendants’ affirmative defenses.
          On May 5, 2023, shortly after this Court entered its omnibus order on
   the parties’ cross-motions for summary judgment, Bluegreen filed a notice
   indicating its withdrawal of all requests for legal relief, and specifically
   monetary damages. (ECF No. 438.) In the notice, Bluegreen stated that it had
   chosen to proceed only with its requests for equitable relief, namely a
   permanent injunction and disgorgement of the Defendants’ profits, as well as
   an award of attorney’s fees and costs. Together with the notice, Bluegreen filed
   a motion to proceed exclusively via bench trial, which the Court granted. (ECF
   Nos. 439, 458.)
          As a result of the Court’s order on summary judgment and Bluegreen’s
   decision to forego all forms of legal relief, the only issues pending before the
   Court are whether Bluegreen is also entitled to injunctive relief pursuant to its
   claims for false advertising (Count One), tortious interference (Count Five), and
   civil conspiracy (Count Seven), and whether it is entitled to disgorgement
   damages pursuant to its claim for false advertising (Count One).
          The Court held a four-day, non-jury trial, beginning on August 21, 2023.
   Prior to the trial, the parties submitted a joint pretrial stipulation (ECF No.
   515), as well as their proposed findings of fact and conclusions of law (ECF
   Nos. 501, 509). Following the trial, the parties also submitted post-trial
   proposed findings of fact and conclusions of law. (ECF Nos. 551, 552.)
          The Court has carefully reviewed these submissions as well as the
   transcript of the trial proceedings. After considering the credible testimony and
   evidence, and the applicable law, the Court finds that Bluegreen has prevailed
   on its claims for false advertising (Count One), tortious interference (Count
   Five), and civil conspiracy (Count Seven), and is entitled to injunctive relief. The
   Court further finds that Bluegreen is entitled to $100,000 in disgorgement
   damages pursuant to its claim for false advertising (Count One).

      2. Findings of Fact

      A. The Parties
          Bluegreen is a timeshare developer based in Boca Raton, Florida.
   Bluegreen maintains a portfolio of approximately seventy vacation resorts, each
   of which are comprised of various units within. Tr. of Bench Trial Proceedings,
   Vol. I (“Trial Tr. Vol. I”), 28:11-12, 45:16-18. Bluegreen sells portions of such
   units to consumers. Id. at 28:12-13. Through purchase of the Bluegreen
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   vacation interests, also known as timeshares, owners are allotted an associated
   number of “points.” Id. at 108:9-10.
          The points that a Bluegreen timeshare owner acquires give the owner
   access to Bluegreen’s entire portfolio of resorts, which permits owners to book
   vacations at multiple resorts. Id. at 28:13-16, 46:13–15. When booking a stay
   at a Bluegreen resort, owners are able to book stays that match the number of
   points they hold. Id. at 45:4-7.
          Consumers may choose to finance their purchase of Bluegreen timeshare
   interests, which Bluegreen will provide itself. Id. at 29:15-22. Thereafter,
   Bluegreen will collect payments on the debt and may act as the servicer of the
   loan. Id. at 29:22-23, 93:2-4.
          Bluegreen maintains adequate inventory to make additional sales at all
    times. Id. at 61:3-5. There is no need for Bluegreen to recover inventory for it
    to continue its sales operations. Id. at 6-11.
          Many of the timeshare owners testified that Bluegreen lied to them, made
    misrepresentations to them during the sales process, pressured them into
    purchasing and/or upgrading, and otherwise defrauded them. See Trial Tr.
    Vol. IV, 9:16-21. These lies, misrepresentations, and high-pressure sales
    tactics include the following:
                 • False statements that an owner could rent out their timeshares
                    to earn extra money. Id. at 10:8-10.
                 • False statements that an owner was being offered an exclusive
                    deal that was only available for that day. Id. at 17-19.
                 • Statements that the timeshare ownership interest would
                    increase in value and have great resale value. Id. at 10:25-11:1.
                 • Misrepresentations regarding the financial significance of the
                    maintenance fees. Id. at 11:10-12.
                 • Misrepresentations from the Bluegreen sales representatives
                    regarding the points increment and its significance. Id. at
                    11:17-19.
                 • Misrepresentations regarding the outside exchange program.
                    Id. at 11:24-25.
                 • Sales representatives coerced owners into applying for
                    Bluegreen-branded credit cards. Id. at 12:4-5.
                 • False statements that if an owner upgraded their timeshare,
                    they would get greater priority when booking, when in fact they
                    did not. Id. at 12:7-9.
                 • False statements that the Bluegreen sales representative would
                    act as the owner’s personal assistant and be available to them
                    after the sale. Id. at 12:18-21.
                 • Failure on the part of the Bluegreen sales representative to
                    disclose the correct interest rate on the loan. Id. at 12:25-13:1.
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                   • Failure on the part of the Bluegreen sales representative to
                     disclose the owner’s right to rescind the timeshare contract. Id.
                     at 13:6-7.
           Bluegreen asked the Court to accept as credible the testimony of the
   timeshare owners relating to misrepresentations made to them by Pandora, but
   to reject the same owners’ testimony concerning misrepresentations made to
   them by Bluegreen. This is simply not plausible. See Tr. of Bench Trial
   Proceedings, Vol. IV (“Trial Tr. Vol. IV”), 13:11-23. As the Court put it during
   the trial, it cannot be true that “these tens of thousands or hundreds of
   thousands of people that are going to these timeshare exit companies”—people
   who are “so dissatisfied with [their timeshares] that they’re willing to pay
   thousands of dollars to get out”—are “just all wrong.” Id. at 13:24-14:7.
           Pandora is a timeshare exit company based in California. See P-1001
   through 1191 (Pandora customer services agreements referencing California
   office). Pandora is owned and operated by Folk and Wilson. Deposition of Rich
   Folk, Aug. 28, 2020 (“Folk Dep.”), 30:12-13, 17-18, 31:19-21. Folk and Wilson
   are Pandora’s managing partners and the final decision-makers for Pandora’s
   business decisions. Folk Dep. at 30:12-13, 17-18, 31:1-7, 15-18.
           As a timeshare exit company, Pandora advertises to timeshare owners
   the ability to terminate the owner’s obligations under his or her timeshare
   contract. P-1390, 1 RFA No. 70 (admitting that Pandora advertises the ability to
   terminate a timeshare owner’s obligations under a timeshare contract).
   Pandora advertises that its process is “legal,” even though Pandora is not itself
   a law firm or registered with the California Bar as a lawyer referral service. See
   P-1390 at RFA Nos. 84 (admitting that Pandora is not a law firm), 163
   (admitting that Pandora claims its exit “process is legal”), 168 (admitting that
   Pandora makes the claim that it can “legally and permanently exit your
   timeshare”); Trial Tr. Vol. I, 249:17-22; Tr. of Bench Trial Proceedings, Vol. III
   (“Trial Tr. Vol. III”), 102:15-17.
           Pandora takes the position that it only accepts as customers those
   timeshare owners that were subjected to some form of misrepresentations
   during the sale of the timeshare. However, Pandora has also taken the position
   that every timeshare owner is the subject of misrepresentation. See P-1496 at
   9 (“There is always misrepresentation, anyone who has ever attended a
   timeshare presentation has been misrepresented.”).
           Pandora executes a written agreement with each of its customers. See,
   e.g., P-1001 through P-1191 (service agreements with relevant owners). The
   Timeshare Compliance Services Agreement states that Pandora “will work
   diligently and aggressively to cancel Client’s Timeshare,” and identifies in
   Section 2 the “Timeshare Contracts to Terminate.” Id. Pandora then refers its
   customers to attorneys for the purpose of delivering the promised cancellation

   1 Pursuant to Fed. R. Civ. P. 36(b) “[a] matter admitted under this rule is conclusively

   established . . . .”
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   or termination, while Pandora merely acts as the liaison between the owner
   and the attorney. Trial Tr. Vol. I, 229:23–230:4.
          Pandora refers all of its customers to attorneys, including co-Defendants
   Carlsbad Law Group (“Carlsbad”) and Sean Slattery (“Slattery”) (together, the
   “Lawyer Defendants”). P-1390, RFA Nos. 56 (admitting that Pandora referred
   Bluegreen Owners to Carlsbad or Slattery), 138 (admitting that Pandora uses
   Slattery to perform services advertised to Bluegreen Owners); Trial Tr. Vol. I,
   229:23-25, 243:13–15 (testimony that Pandora refers every Bluegreen owner to
   an attorney); Tr. of Bench Trial Proceedings, Vol. II (“Trial Tr. Vol. II”), 227:19-22
   (testimony from Carlsbad equity partner David Hall that Pandora refers
   timeshare owners to Carlsbad). Like Pandora, Carlsbad is located in California,
   and Slattery is an attorney licensed by the California bar. Trial Tr. Vol. II,
   187:22-23; Trial Tr. Vol. III, 10:1-2.
          Although the Services Agreement states that cancellation or termination
   may take many forms, at its base, Pandora’s goal is to relieve Bluegreen
   timeshare owners of their payment obligations to Bluegreen. Trial Tr. Vol. I,
   228:7-10.
          Unbeknownst to the Bluegreen owners who purchase Marketing
   Defendants’ services, Marketing Defendants rely entirely on the owner
   defaulting on his or her Bluegreen loan to effectuate the promised “exit.” P-
   1438, No. 20 (admitting that “Pandora is unaware of any Bluegreen Owner that
   hired Pandora that was released from his or her Bluegreen timeshare contract
   who was also continuing to pay Bluegreen while Pandora and such Bluegreen
   Owner maintained their service relationship”).

      B. The Timeshare Owners’ Testimony
         The parties entered the deposition testimony of fifteen of the Bluegreen
   timeshare owners into evidence: Ashley Tilahun, Derrick Braswell, Gerald
   Barnett, James Schupp, Jeremy Lathrem, Jonnie Driver, Lynette King, Megan
   Ivy, Mitchell Marston, Nancy Braun, Rhonda Dixon, Ryan Mailhiot, Shirley
   Prosek, Jordan Harding, and Wayne Norland (collectively, the “Testifying
   Owners”). The Testifying Owners testified as to the impact of the Marketing
   Defendants’ advertising and business practices.
         At least 177 Bluegreen owners that were current on the financial
   obligations associated with their Bluegreen timeshare retained Marketing
   Defendants’ services (the “Relevant Owners”). P-1001 through P-1191
   (Marketing Defendant service agreements).
         The Relevant Owners were parties to 198 separate Owner Beneficiary
   Agreements (“OBA”) and Promissory Notes (“Notes”) (OBAs and Notes together,
   the “Relevant Contracts”) (P-0004 through P-0570) associated with the
   financing of their purchase of a Bluegreen timeshare interest.
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          The Notes obligate the Relevant Owners to repay Bluegreen the amount
   financed for purchase of their Bluegreen interests until the outstanding
   balance reaches zero. P-363 through P-570.
          The Relevant Owners are located in numerous different states across the
   United States and in Canada. See P-1001 through P-1191.
          Marketing Defendants attract timeshare owner customers through a
   nationwide advertising campaign that solicits consumers through a variety of
   channels. P-1390 at RFA Nos. 1 (admitting that Pandora engages in a
   nationwide advertising for its services), 2 (admitting that Pandora advertises its
   services to timeshare owners), 6 (admitting that Pandora advertises to
   timeshare owners via radio), 7 (admitting that Pandora advertises to timeshare
   owners via television), 8 (admitting that Pandora solicits customers through
   cold-calling), 10 (admitting that Pandora solicits customers through in-person
   sales presentations), 153 (admitting that third-parties solicit timeshare owners
   on Pandora’s behalf), 154 (same), 155 (same), 185 (admitting that Pandora’s
   past or current customers include Florida residents), 187 (admitting that
   Pandora’s past or current customers include California residents), 190
   (admitting that Pandora’s past or current customers include residents of states
   other than California or Florida), 192 (admitting that Pandora has solicited
   customers while they reside in Florida), 193 (admitting that Pandora has
   solicited customers while they reside in states other than California or Florida);
   Trial Tr. Vol. I, 218:19- 219:17 (describing the various means of advertising).
       The various forms of advertising give timeshare owners a means to contact
   Pandora for further consultation and result in inbound telephone calls to
   Pandora from prospective customers. Trial Tr. Vol. I, 220:1-5 (radio), 220:17-
   19 (television), 220:20-221:1 (internet); P-1392, RFA Nos. 235 (admitting that
   “sales leads generated from Pandora’s television advertising are in the form of
   inbound telephone calls from potential customers”), 238 (admitting that “sales
   leads generated from Pandora’s radio advertising are in the form of inbound
   telephone calls from potential customers”), 241 (admitting that “sales leads
   generated from Pandora’s website are in the form of inbound telephone calls
   from potential customers”).
          Inbound telephone calls to Pandora from prospective customers are
   answered by “specialists.” P-1392, RFA No. 243 (admitting that “inbound
   telephone calls from potential customers are received by Pandora’s
   ‘specialists’”).
          Owners may also fill out an online form giving Pandora permission to
   contact them in which case Pandora’s specialists call the owners. Trial Tr. Vol.
   I, 220:23-221:3.
          Pandora’s specialists or “booking agents” then schedule prospective
   customers to speak with an “analyst,” who delivers an oral sales presentation
   to the timeshare owner. P-1392 at RFA No. 245 (admitting that “Pandora’s
   ‘specialists’ schedule potential customers to speak with Pandora’s ‘analysts’”),
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   248 (admitting that “Pandora’s ‘analyst’ presentations describe the services
   that Pandora wishes to sell to potential customers”); Trial Tr. Vol. I, 221:6-14
   (testimony that booking agents schedule calls with analysts).
          Most of Marketing Defendants’ potential customers, regardless of how
   they found out about Marketing Defendants, will go through the analyst sales
   presentation. P-1393 at RFA No. 261 (“[M]ost potential customers who hire
   Pandora, regardless of how such potential customers comes to learn about
   Pandora’s services, communicate with an analyst who delivers a sales
   presentation to such potential customers.”).
          Prospective customers typically sign up for Pandora’s services with the
   analysts. Trial Tr. Vol. I, 223:9-15, 226:4-7.
          Both the specialists and the analysts receive sales commissions for those
   timeshare owners that retain Pandora’s services. P-1392, RFA Nos. 251
   (admitting that “Pandora’s ‘analysts’ receive a sales commission associated with
   every timeshare owner they speak with that executes an agreement with
   Pandora”), 252 (admitting that “Pandora’s ‘specialists’ receive a sales
   commission associated with every timeshare owner they speak with that
   executes an agreement with Pandora”); Trial Tr. Vol. I, 221:15-23 (specialist
   receive sales commissions), 223:16-224:10 (sixty percent of the analysts’
   compensation is a sales commission).
          Folk and Wilson have had personal involvement in Pandora’s marketing,
   including the creation of advertisements and sales scripts. P-1390 at RFA Nos.
   22 (admitting that Folk has personal involvement in creation of Pandora’s radio
   advertisements), 23 (admitting that Folk has personal involvement in the
   creation of Pandora’s television advertisements), 24 (admitting that Folk has
   personal involvement in the creation of Pandora’s scripts used to solicit
   timeshare owners), 27 (admitting that Wilson approves all advertising
   statement made by Pandora prior to publication), 28 (admitting that Wilson
   has personal involvement in creation of Pandora’s radio advertisements), 29
   (admitting that Wilson has personal involvement in the creation of Pandora’s
   television advertisements), 30 (admitting that Wilson has personal involvement
   in the creation of Pandora’s scripts used to solicit timeshare owners); Non-
   Confidential Deposition of Jim Baskett, Jun. 28, 2022 (“Baskett Dep.”), 34:11-
   17, 36:3-10; Trial Tr. Vol. I, 217:5-6 (Folk and Wilson are “very active in sales,
   managing sales”), 226:21-227:1 (Folk and Wilson review and approve sales
   scripts).
          Pandora’s Chief Financial Officer, Scott Grey (“Grey”), testified that
   Marketing Defendants typically employ no more than ten to fifteen analysts.
   Trial Tr. Vol. II, 7:21-23.
          The sales presentations describe the services that Marketing Defendants
   wish to sell to potential customers, and the presentation’s purpose is to obtain
   new customers. P-1392 at RFA Nos. 247 (admitting that “the purpose of
   Pandora’s ‘analyst’ sales presentation is to obtain new customers”), 248
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   (admitting that “Pandora’s ‘analyst’ presentations describe the services that
   Pandora wishes to sell to potential customers”), 254 (admitting that “a purpose
   of the ‘analyst’ sales presentation is to influence timeshare owners to buy
   Pandora’s services”); Trial Tr. Vol. I, 226:8-11.
          The analysts use scripts to deliver the sales presentations, such that the
   sales presentations are generally the same for each potential customer. P-1390
   at RFA No. 19 (admitting that employees utilize a written script in connection
   with the solicitation of timeshare owners); P-1392 at RFA Nos. 255 (“Analysts
   are expected to hue closely to a script that changes over time.”), 260 (admitting
   that portions of the analyst sales presentations are the same for each
   customer).
          Analysts are expected to follow the script. Trial Tr. Vol. I, 226:12-17
   (analyst communications are “governed by a script” which the analysts are
   “expected to follow”); P-1393 at RFA No. 257 (admitting “analysts are provided
   and expected to hue closely to a script that changes over time” and “from time
   to time analysts are given advice and suggestions regarding how they should
   communicate with potential customers including how to deliver the scripted
   language”).
          Marketing Defendants assert that only one script from September 2020
   (P-1488) was a script approved by company management. Trial Tr. Vol. II,
   92:17–25. But Pandora has admitted that it has always used scripts for its
   analysts, produced numerous other scripts pre-dating September 2020, and
   acknowledged that Folk and Wilson were personally involved in their creation.
   P-1390, RFA Nos. 24 (admitting that Folk had personal involvement in the
   creation of Pandora’s scripts), 30 (admitting that Wilson has had personal
   involvement in the creation of Pandora’s scripts); P-1393, RFA No. 257
   (admitting that “analysts are provided and expected to hue closely to a script”),
   P-1480 (script), P-1482 (script), P-1484 (script), P-1485 (script), P-1486 (script),
   P-1488 (script). Thus, the idea that no company-sanctioned script existed until
   September 2020 lacks any credibility.
          The analyst sales presentations are an essential part of the marketing
   and sales process. P-1498, p. 7 (Pandora handbook stating that analysts are
   “an integral part of [the] marketing process”).
          In addition to being guided by scripts, the analysts also receive frequent
   training. The training includes regular analyst meetings wherein the sales
   presentations and their content are discussed, modified, and points of
   emphasis are conveyed. See P-1392 at RFA No. 256 (admitting that Pandora
   hold meetings with analysts wherein there is discussion on the content of the
   analyst presentations); P-1574 (discussing an analyst meeting for purposes of
   “sharpening the analyst’s pitch” to include “pitch[ing] contract resolution and
   the credit program as a contract resolution”); Trial Tr. Vol. I, 227:2-9; P-1528
   (audio recording of training session); Confidential Deposition of Jim Baskett,
   Jun. 28, 2022 (“Baskett Confidential Dep.”), 235:12-19. Training also comes in
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   the form of written training materials/manuals. See, e.g., P-1498 (a “Senior
   Analyst Playbook”).
          Folk and Wilson have run these analyst meetings and have had personal
   involvement in the training and supervision of analysts. Baskett Non-
   Confidential Dep. at 58:18-59:2; P-1390 at RFA Nos. 25 (admitting that Folk
   has had personal involvement in the training of Pandora’s sales employees
   and/or independent contractors), 26 (admitting that Folk has had personal
   involvement in the supervision of Pandora’s sales employees and/or
   independent contractors), 31 (admitting that Wilson has had personal
   involvement in the training of Pandora’s sales employees and/or independent
   contractors), 32 (admitting that Wilson has had personal involvement in the
   supervision of Pandora’s sales employees and/or independent contractors).

      C. Pandora’s Sales Presentations Contained False Statements That
         Were Widely Disseminated
      (1) Statements Regarding Credit Protection
          Marketing Defendants’ sales presentations have falsely communicated to
   Bluegreen timeshare owners that the owners’ credit will be protected
   throughout the duration of the exit process.
          Specifically, Marketing Defendants admit that they tell owners that their
   credit will be protected during the exit process. P-1390 at RFA No. 75
   (admitting that Pandora communicates the availability of credit repair services
   to Bluegreen Owners before they retain Pandora’s services), 159 (admitting that
   Marketing Defendants “tell [Bluegreen] Owners that their credit will be
   protected during the timeshare ‘exit’ process”). Marketing Defendants trained
   the analysts that credit repair services should be “mentioned in detail and
   highly encouraged” to owners. P-1574, p. 1 (Pandora email dated July 15,
   2020).
          Indeed, Marketing Defendants have drafted analyst scripts relating to
   their offered credit services. P-1392 at RFA No. 273 (admitting “that Pandora
   drafted scripts related to credit management or credit restoration”). The
   following types of statements were expressly set forth in analyst scripts, dating
   between 2019 and mid-2020:
             a. “And along with that if you have a mortgage, we’re going to
                 protect your credit. So in a short period of time you are done with
                 the developer, you’re not making any more payments and your
                 credit is protected.” P-1485, p. 3 (July, 7, 2019) (emphasis
                 added).
             b. “So in a short period of time you are done with the developer,
                 you’re not making any more payments and your credit is
                 preserved.” P-1480, p. 2 (Apr. 1, 2020) (emphasis added); P-1486,
                 p. 2 (Aug. 2020).
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          Recordings from this time show numerous different analysts
   representing to Bluegreen timeshare owners that Pandora would protect their
   credit. Specifically, these statements were made by analysts Taylor Otto (D-
   0506, p. 45), Courtland Llauger (D-0487, pp. 34-35), Luke King (D-0519, p.
   30), Rick Recania (D-0517, pp. 24-25), James Leonard (D-0476, p. 19), Richard
   Otto (D-0491, p. 23), Kimmer Franz (D-0516, p. 37), and Grady Bickel, (D-
   0504, p. 75), each of which communicated this same message to timeshare
   owners.
          These representations were also made to the Testifying Owners. For
   example:
             c. Analyst Courtland Llauger told Jordan Harding: “And for the credit
                protection, you do know that we are going to protect your credit. I
                don’t know if that’s important to you.” P-1516 at 8:15-8:25. 2
                (emphasis added). Upon hearing this, Ms. Harding believed “that
                our credit wouldn’t be affected by stopping our payments. They
                would make sure that we were taken care of in that aspect.”
                Deposition of Jordan Harding, Aug. 15, 2022 (“Harding Dep.”),
                24:20-25:5. Ms. Harding signed up with Marketing Defendants on
                March 11, 2019. P-1073, p. 1.
             d. After explaining the credit service, analyst Grady Bickel told Megan
                Ivy: “And we’ve never had anything added to your credit in a
                negative form that we couldn’t get taken off.” P-1512 at 46:40-
                46:50. 3 Ms. Ivy understood the credit pitch to mean “[t]hat if we
                stopped paying it wouldn’t affect our credit,” which was material to
                her. Deposition of Megan Ivy, Aug. 15, 2022 (“Ivy Dep.”), 34:20-
                35:5. Ms. Ivy signed up with Marketing Defendants on March 15,
                2019. P-1060, p. 1.
             e. Analyst Taylor Otto told James Schupp: “So the first thing that
                we’re going to do is immediately once we take on the case, we
                protect your credit and the way we do that is I’ll be sending you
                over a form which is called a trade line block and it makes it so
                when you are not making your payment to Bluegreen, they are not
                able to hurt the credit negatively. We use it on every one of our
                clients. Every client’s credits are protected. It’s the same thing for
                every client.” P-1527 at 1:05:48-1:06:17. 4 Mr. Schupp signed up
                with Marketing Defendants on July 2, 2019. P-1155, p. 1.
             f. Analyst Otto told Shirly Prosek: “So that is part of the service that
                we offer. We are able to maintain the integrity of your credit. So
                what that means is, we find it easier and we get you out faster
                when you’re not making payments to your timeshare developer.”

   2 D-0457 at 9:2-4.
   3 D-0454 at 46:17-19.
   4 D-0461 at 59:20-60:3.
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                 P-1537 at 14:12-14:34. 5 The promise of credit protection was one
                 of the reasons Ms. Prosek hired Marketing Defendants, because
                 her credit was “absolutely” important and material to her
                 decisions. Deposition of Shirley Prosek, Sept. 8, 2022 (“Prosek
                 Dep.”), 25:5-18. Ms. Prosek signed up with Marketing Defendants
                 on Jan. 3, 2020. See P-1144, p. 1.
           Other Testifying Owners also recalled being told their credit would be
   protected during the sales presentations. Deposition of Mitchell Marston, Aug.
   19, 2022 (“Marston Dep.”), 23:1-24:13, 49:22-50:6; Deposition of Gerald
   Barnett, Aug. 11, 2022 (“Barnett Dep.”), 21:21-22:7; Deposition of Derrick
   Braswell, Sept. 10, 2022 (“Braswell Dep.”), 30:16-31:5; Deposition of Ashley
   Tilahun, Aug. 18, 2022 (“Tilahun Dep.”), 25:6-26:6.
           At some point after Marketing Defendants were sued in 2020, Folk and
   Wilson instructed analysts to use the term “credit management” instead of
   “credit protection.” Baskett Confidential Dep. at 187:10-188:02. Such change
   is reflected in the analyst scripts dated in the mid to latter-half of 2020:
              g. “Credit Management Pitch (FOR CLIENTS WITH MORTGAGE
                 BALANCES) If you have a mortgage balance with your developer
                 and decide that you do not want to move forward with the
                 obligation of making monthly payments (we cannot legally tell you
                 to stop paying) we do have a credit management option to assist
                 you in removing the timeshare developer from your report in the
                 event that they mark your credit.” P-1482, p. 2 (dated June 2,
                 2020).
              h. “So in a short period of time you are done with the developer,
                 you’re not making any more payments and your credit is
                 preserved.” P-1486, p. 2 (August 2020).
           However, recordings show several analysts continuing to tell Bluegreen
   owners that their credit will be protected:
              i. Analyst Llauger told Nancy Braun: “I’m going to share with you, to
                 answer your question, nothing will happen to your credit if you
                 take my advice. Now, so we have never had a client’s credit
                 compromised ever if they follow our advice.” P-1507 at 1:02:23-
                 1:03:01. 6 The Brauns signed up for the offered credit protection
                 service, and the existence of such a service was material in the
                 decision to hire Marketing Defendants. Deposition of Nancy Braun,
                 Sept. 9, 2022 (“Braun Dep.”), 34:19-35:1. The Brauns signed up
                 with Marketing Defendants on November 19, 2020. P-1021, p. 1.
              j. Analyst Luke King told Jonnie Driver: “You will be done with
                 Bluegreen. You won’t owe them another dollar. Your credit will


   5 D-0465 at 16:21-25.
   6 D-0449 at 49:20-23.
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                  remain intact.” P-1510 at 18:23-18:29. 7 And: “This will never
                  appear on your credit in any type of negative way whatsoever.” Id.
                  at 28:47 - 28:52. 8 The promised credit protection was a material
                  reason why the Drivers hired Marketing Defendants on December
                  14, 2020. Deposition of Jonnie Driver, Aug. 12, 2022 (“Driver
                  Dep.”), 30:1-8.
          Pandora’s training materials for analysts included language for
   employees to use in conversation with consumers related to Pandora’s ability to
   protect consumer credit. See P-1498, p. 37 (Pandora’s “Senior Analyst
   Playbook” which includes a “Credit Management Presentation”).
          Wilson recruited third-party Angela Consalvo (“Consalvo”) to open her
   own credit repair entity (National Credit Rehab) to purportedly provide the
   credit-related services that Pandora advertised to customers. Trial Tr. Vol. II,
   128:2-14. Ms. Consalvo had previously provided these same services to
   Marketing Defendants’ customers through her former employer, Credit Guard,
   which was subsequently renamed to Tradebloc. Id. at 116:13-19.
          The only need for credit protection related to an owner’s timeshare
   interest is if the owner ceases payment to the developer. Trial Tr. Vol. I,
   254:23–255:8 (admitting that “if a timeshare owner is current when they hire
   [Marketing Defendants] with regard to their timeshare developer” they would
   not “have any need for credit protection” as to the developer); Trial Tr. Vol. III,
   110:15-19.
          The use of the credit-pitch is central to the Marketing Defendants’
   strategy as it creates a false sense of resolution. In fact, Marketing Defendants
   instructed their salespeople to pitch the credit service as its own form of
   “contract resolution.” See P-1574. Specifically, Pandora’s training materials
   take the position that “[i]f the developer is not affecting your lifestyle, you’re
   basically out!” Id. The Marketing Defendants’ training materials provides
   employees with responses to potential customer complaints which includes the
   statement that “[i]f the developer is not leaving negative marks on your credit
   or harassing you via phone or mail, it’s a win.” P-1501, p. 7 (same).
          In a training to fellow salespeople, Marketing Defendant’s senior
   employee, Jimmy Baskett, coached analysts on how to pitch the credit repair
   service to prospective customers and ties such credit service to an owner’s
   decision to cease payment and characterizes such non-payment as a feature of
   Pandora’s services. P-1528 (01:25:14 through 01:27:00). Grey, a member of
   Pandora’s senior leadership team, also testified that he has heard discussion of
   using credit service as a method to resolve timeshare contracts. Trial Tr. Vol. I,
   255:9-13.
          Slattery also testified regarding the similar concept of a “constructive
   exit,” by which an owner would be considered exited so long has he or she was

   7 D-0452 at 16:24-17:1.
   8 D-0452 at 26:4-5.
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   not receiving debt collection calls or negative marks on his or her credit. Trial
   Tr. Vol. III, 74:19-75:18. Slattery testified that the reason for Marketing
   Defendants’ use the credit repair pitches is because it removes “leverage” that
   timeshare developers like Bluegreen have to persuade owners to continue
   making regular loan payments. Id. at 108:16-18 (testimony that “those can be
   effective in eliminating your client’s leverage, the only leverage your clients
   have to force timeshare clients that don’t pay to pay”).
          Similarly, in communication with Carlsbad, a Marketing Defendant
   employee stated that timeshare owners “already feel like we’re a scam because
   of their history with the developer so we try to lieu them away from that feeling
   by letting them know all is good as long as they aren’t hearing from the
   developer and if the trade block is in place (for debt clients).” P-1990. Slattery
   also noted in an email to Pandora that he spoke with an owner and explained
   that “the trade block makes the foreclosure an ‘exit’.” P-1985.
          Numerous examples of analyst sales calls, across a range of Pandora
   employees, include reference to the statement that Pandora will protect a
   consumer’s credit.
          Marketing Defendants’ claims that they can protect consumer credit
   scores are literally false:
              k. Grey testified that Marketing Defendants “ha[ve] overstepped” by
                  telling owners they could protect their credit.” See Trial Tr. Vol. I,
                  252:19–253:1.
              l. Grey admitted that Marketing Defendants cannot guarantee that a
                  customer’s credit score will not be harmed. Id. at 253:11-21.
              m. Evidence from Bluegreen timeshare owners demonstrates that
                  their credit was not in fact protected. Testifying Owners who signed
                  up for the credit protection services confirmed that they
                  experienced negative credit effects after ceasing payment to
                  Bluegreen. See Braswell Dep. at 33:4-6, 10-12; 37:1-13; Barnett
                  Dep. at 26:24-27:2; 27:16-28:1; Driver Dep. at 36:21-24; 71:11-
                  72:1; Marston Dep. at 29:2-4; Braun Dep. at 34:19-22; 49:4-8;
                  Prosek Dep. at 30:2-31:24; Tilahun Dep. 24:04-26:06; Deposition
                  of Ryan Mailhiot, August 18, 2022, (“Mailhiot Dep.”) at 28:6-29:11.
              n. Bluegreen’s Senior Vice President of Finance, Capital Markets, and
                  Mortgage Operations Paul Humphrey (“Humphrey”) testified that
                  the Marketing Defendants’ credit “protection” does not interfere
                  with Bluegreen’s credit reporting. Trial Tr. Vol. I, 210:14-21.
              o. Similarly, testimony by Consalvo, who provided the credit-related
                  services, reveals that Pandora’s promises to consumers did not
                  match reality. On behalf of the Pandora-referred consumers,
                  Consalvo would input the owners’ information into computer
                  software that would generate generic dispute letters which
                  Consalvo would mail to credit bureaus. Trial Tr. Vol. II, 116:21-
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               117:4; 150:24-152:12. If an initial dispute failed, Consalvo would
               make up to two additional attempts. Id. at 125:14-126:24.
               Nevertheless, if a credit bureau confirmed with the creditor that
               the information related to the debt was accurate, nothing would
               happen to the consumer’s credit report. Id. at 119:1-7. To this
               end, Consalvo emphasized in an email to Pandora that the credit
               service could only be sold as an “attempt.” See P-1978. In
               response, a Pandora employee indicated that she had
               communicated this to the sales analysts that the credit services
               should not be presented as a guarantee and that she “hoped” they
               would stop doing so soon. Id.
            p. Consalvo further testified that she is unaware of any method in the
               credit industry that proactively blocks a creditor from reporting on
               a timeshare owner’s credit. Trial Tr. Vol. II, 12919-22. Consalvo
               also received regular complaints from Pandora’s customers
               regarding negative and derogatory marks appearing on their credit
               reports. Id. at 130:9-131:11.
            q. David Hall (“Hall”), Slattery’s partner at Carlsbad, testified that the
               Marketing Defendants’ credit protection does not make it safer for
               the owners to stop making payments to Bluegreen. Trial Tr. Vol. II,
               242:24-243:2.
         Notably, Marketing Defendants failed to introduce any evidence that they
   protected or repaired even a single Bluegreen timeshare owner’s credit.
         Many Testifying Owners testified that that the promise of credit
   protection was material to their decision to hire the Marketing Defendants.
   Prosek Dep. at 25:9-18; Lathrem Dep. at 26:6-11; King Dep. at 25:7-16.
         Many Testifying Owners testified that the promise of credit protection
   gave them more confidence to stop making their payments to Bluegreen. See
   Braswell Dep. at 31:6-9; Driver Dep. at 30:5-15; Deposition of James Schupp,
   Aug. 12, 2022 (“Schupp Dep.”), 28:18-20; Marston Dep. at 23:15-24; Braun
   Dep. at 35:8-13, 22-23; 36:3; Prosek Dep. at 54:22-55:1; Harding Dep. at 25:1-
   10; Ivy Dep. at 34:22-35:10.

      (2) Statements Regarding Attorneys’ Services
         Marketing Defendants inform potential Bluegreen timeshare owner
   customers during the sales presentation that an attorney that Bluegreen
   owners separately retain will provide them with an exit from their timeshare
   obligations. P-1392, RFA No. 258 (admitting that Pandora’s “analyst” sales
   presentations describe the services to be rendered by an attorney).
         For instance, multiple analyst scripts from 2019 through 2020 contain
   statements that the timeshare owners’ “case” will be submitted to a law firm
   and/or that an attorney will be working with the timeshare developer to seek
   an exit:
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             a. “Just know this, if I decide to take your case and submit it to one
                of our law firms, we will get you out of your timeshare agreement
                legally and permanently forever.” P-1485, p. 2; P-1480, p. 2; P-
                1482, p. 2; P-1486, p. 2; P-1484, p. 2.
             b. “But here’s the most important part. It allows your attorney to
                have direct contact with the developer on your behalf, relieving you
                of the burden to communicate with them. From that point, your
                attorney will be on your side fighting for you.” P-1488, p. 2.
         The scripts also inform timeshare owners of the attorney’s fee, and that
   they will need to sign a retainer with the attorney to whom they are referred, in
   substantially the same form as follows:
             c. “Also, by law, we must have a direct relationship between you and
                the attorney, so within 30 days when the attorney reaches you, you
                must write them a separate check for $600/$750 dollars. That
                completes the loop of the attorney/client relationship.” P-1485, p.
                3; P-1480, p. 2.
             d. “By law, we must have a direct relationship between you and the
                attorney, so in about 30 days when the attorney reaches you, you
                must write the attorney a separate check for $750 dollars, this is
                the retainer fee. That completes the loop of the attorney/client
                relationship.” P-1482, p. 2; P-1486, p. 2; P-1488, p. 2; P-1484, p.
                2.
         Call recordings show analysts highlighting attorneys as key to the exit
   process:
             e. “There are other companies that are cheaper, absolutely, but they
                don’t use attorneys, so how the heck do they get you out?” P-1518
                at 45:46-46:22 9 (analyst Otto sales presentation to owner King).
             f. “[W]e want to settle the case and the attorney will negotiate a
                settlement and ultimately you will both walk away from this legally
                and permanently.” P-1514 at 18:17-19:08 (analyst Llauger sales
                presentation to owner Harding).
             g. “We have a clear understanding with the developer and their
                attorneys that we only show them the bad contracts where clients
                were misrepresented and that’s why we are one hundred percent
                successful in getting our clients resolution.” P-1510 at 30:17 -
                30:31 (analyst King sales presentation to owner Driver).
         Testifying Owners were told during sales presentations that the services
   would be through an attorney and/or they understood that an attorney would
   be the one providing the services. See Prosek Dep. at 55:2-16; Deposition of
   Rhonda Dixon, Sept. 7, 2022 (“Dixon Dep.”), 19:21-20:25; Braun Dep. at 14:22-
   15:10; Marston Dep. at 24:14-24; Harding Dep. at 22:6-23:5; Driver Dep. at
   23:19-25:8; Deposition of Jeremy Lathrem, Sept. 9, 2022 (“Lathrem Dep.”),

   9 D-0458 at 44:4-7.
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   35:19-36:12; Schupp Dep. at 24:8-25:6; Barnett Dep. at 21:3-6, 10-13;
   Braswell Dep. at 13:9-23; Tilahun Dep. at 30:16-31:6; Deposition of Lynette
   King, Sept. 8, 2022 (“King Dep.”), 26:15-27:11; Ivy (Freed) Dep. at 81:11-14.
         Moreover, in an analyst training session, the trainer instructed analysts
   on how to explain the use of attorneys to timeshare owners. P-1528 at 20:31-
   21:30, 22:09-23:49; Baskett Confidential Dep. at 235:12-19.
         Numerous examples of analyst sales calls, across a range of Pandora
   employees, include reference to the statement that an attorney will provide the
   desired timeshare contract cancellation. This is not surprising because
   Marketing Defendants’ process it to refer every Bluegreen timeshare owner to
   an attorney. P-1390 at RFA Nos. 56-58, 130, 134, 138; Trial Tr. Vol. I, 229:23-
   25, 243:13–15 (testimony that Pandora refers every Bluegreen owner to an
   attorney).
         Marketing Defendant’s statements to Bluegreen Owners during sales
   presentations that the attorneys will get those owners out of their obligations
   with Bluegreen are literally false because the evidence demonstrates that the
   attorneys’ actions are not what accomplishes an exit. The Court found this to
   be true as a matter of undisputed fact on summary judgment, 10 and the
   evidence at trial continues to support that conclusion.
         The only steps that Lawyer Defendants take are insufficient to relieve
   timeshare owners of any of their obligations. Specifically:
             h. The Lawyer Defendants’ actions on behalf of timeshare owners only
                involve (1) the sending of a cease and desist letter and (2) the
                sending of a demand letter. See P-1192 through P-1267.
                Expressly excluded from the Lawyer Defendants’ work are any
                litigation or arbitration services, id., and such attorneys have never
                represented a timeshare owner in litigation or arbitration against
                Bluegreen. Trial Tr. Vol. II, 232:4-9.
             i. Slattery admitted that release of an owner’s obligations to the
                developer “requires [Bluegreen’s] participation” and that he, as an
                attorney, “can’t force them to get out.” Trial Tr. Vol. II, 112:19-
                113:8.
             j. Hall testified that Lawyer Defendants never include any legal
                analysis specific to the individual timeshare owners in their letters
                to Bluegreen as such letters do not account for customer-specific
                information such as where a timeshare owner lives, where the
                timeshare developer is located, or where any timeshare interests
                are located, but instead reference only California law even where



   10 See Summ. J. Order at 34, ECF No. 437 (finding “that the Lawyer Defendants’ entire

   relationship with the timeshare owners was a sham, as the latter thought they were paying to
   be legally released from their timeshare contracts, when in reality it was their defaults that did
   all the work”).
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                 such customers have no connection to California. Id. at 238:2-22.
                 Carlsbad itself is located in California. Trial Tr. Vol. II, 187:22-23.
              k. Humphrey testified that Bluegreen maintains a “zero-tolerance
                 policy” which means that it does not respond to attorneys affiliated
                 with the Marketing Defendants. Trial Tr. Vol. I, 56:10-22
                 (testimony that Bluegreen does not negotiate with timeshare exit
                 companies or attorneys that work with such companies).
              l. Grey conceded that Bluegreen does not respond to the attorney
                 letters. Trial Tr. Vol. I, 243:24-244:2. Slattery testified in
                 agreement during his deposition in this matter. Trial Tr. Vol. III,
                 74:4-18.
              m. Marketing Defendants have not offered evidence of any response
                 from Bluegreen in years.
          As noted, any “exit” is achieved by way of default—not the actions of the
   Lawyer Defendants. P-1438, No. 20 (admitting that “Pandora is unaware of any
   Bluegreen Owner that hired Pandora that was released from his or her
   Bluegreen timeshare contract who was also continuing to pay Bluegreen while
   Pandora and such Bluegreen Owner maintained their service relationship”).
   Slattery—as the attorney tasked with delivering the supposed exit—conceded at
   trial that an attorney is incapable of delivering the desired exit, stating “[i]f you
   continue to make payments to your timeshare, the likelihood of you being
   released based on any complaint that…any lawyer does…is almost zero.”
   Trial Tr. Vol. III, 86:11-13 (emphasis added).
          Grey also conceded that that Pandora made false statements when it
   communicated that their process cancelled timeshare contracts “permanently
   and legally . . . .” Trial Tr. Vol. I, 276:8-23. Marketing Defendants have
   virtually never delivered an “exit” to a Bluegreen Owner except through default.
   P-1438, No. 20 (admitting that “Pandora is unaware of any Bluegreen Owner
   that hired Pandora that was released from his or her Bluegreen timeshare
   contract who was also continuing to pay Bluegreen while Pandora and such
   Bluegreen Owner maintained their service relationship”).
          At trial, Marketing Defendants introduced (or attempted to introduce)
   into evidence a small number of settlements with Bluegreen. But the problems
   with these settlements are numerous. First, many of these settlements
   involved a loan with a party other than Bluegreen. See id. at 101:14-102:5,
   105:20-106:14, 106:20-107:23. Second, there was no evidence that these
   owners were current on their obligations with Bluegreen. And third, even if the
   Court were to credit those settlements as Marketing Defendants urge, their
   number is so few in comparison to the total number of Bluegreen owners that
   retained Marketing Defendants that the factual findings herein would be
   unaffected. See Trial Tr. Vol. III, 38:20 (Slattery testifying that he presently has
   825 Bluegreen clients).
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          Indeed, Marketing Defendants actively seek to hide the true scope of the
   Lawyer Defendants’ work from the timeshare owners. Specifically, Marketing
   Defendants instruct the Lawyer Defendants not to share with timeshare owners
   that they only send two letters to developers. P-1990. In email correspondence
   with the Lawyer Defendants, a Marketing Defendant employee stated “[p]lease
   know that we do not want this information mentioned to clients. Whenever we
   ask the firm to contact a client, we are doing so in hopes that the firm
   reassures a client that they’re doing all that they can to help cancel, not that
   they aren’t doing anything else on the file besides sending out two letters.” Id.
   at p. 2. The same employee continued to say that “less is more when it comes
   to clients . . . .” Id. at p. 1. Slattery testified that it is his understanding that
   Pandora does not communicate to timeshare owners that the only thing that
   will get them released from their obligations is stopping payment. Trial Tr. Vol.
   III, 86:23-25.
          Although Grey testified that Marketing Defendants did not become aware
   of Bluegreen’s practice of not responding to Slattery, such knowledge would
   have made no difference. The evidence demonstrated that, even once Marketing
   Defendants learned that the Lawyer Defendants’ services would not affect a
   Bluegreen owner’s timeshare obligation, Marketing Defendants nonetheless
   continued to refer owners to the Lawyers Defendants anyway. Trial Tr. Vol. I,
   247:11-15 (“Q. So with full knowledge that Bluegreen wasn’t going to respond
   to Carlsbad Law Group letters, Pandora Marketing continued to refer those
   timeshare owners or more timeshare owners to Carlsbad Law Group, did it
   not? A. I guess they did, yes.”).
          Certain of the Testifying Owners confirmed that the potential of attorney
   representation or services encouraged them to purchase the Marketing
   Defendants’ services. Marston Dep. at 61:2-5; Dixon Dep. at 32:7-25; Braun
   Dep. at 47:15-48:2.
          Certain of the Testifying Owners also stated that the potential of attorney
   representation gave them confidence to cease payments to Bluegreen. King
   Dep. at 35:3-6; Marston Dep. at 24:25-25:5; Barnett Dep. at 37:20-24;
   Braswell Dep. at 30:7-11; Ivy Dep. at 82:16-23; Prosek Dep. at 53:15-18.

      (3) Statements Regarding the Marketing Defendants’ Success Rate
        During sales presentations, analysts have also made statements to
   owners that Marketing Defendants have a perfect success rate.
        These statements are found in multiple analyst scripts as follows:
           a. “I want to tell you the reasons as to why we are taking your case,
               here at timeshare compliance, we don’t take every case, we are
               consumer advocates, we’ve never lost a single case, we have won
               every case we’ve taken.” P-1480, p. 2; P-1482, p. 2; 1484, p. 2.
           b. “I want to tell you the reasons as to why we are taking your case.
               Timeshare Compliance doesn’t take every case, we are consumer
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                advocates, we’ve never lost a single case, we have successful
                resolution for every case we’ve taken.” P-1486, p. 2.
             c. “I want to tell you the reasons as to why we are taking your case,
                here at timeshare compliance, we don’t accept every contract, we
                are consumer advocates, and we resolve all contracts we take on.”
                P-1488, p. 2.
          Marketing Defendant training materials state that they “have never lost a
   case” (P-1497), and, in order to close a sale, encourage employees to state that
   timeshare owners are “always” subject to misrepresentations from developers
   like Bluegreen (stating “anyone who has ever attended a timeshare
   presentation has been misrepresented”), thus ensuring that “the likelihood of
   full cancellation is 100% . . . .” P-1496, p. 9.
          Consistent with the scripts and the training materials, audio recordings
   of sales presentations to Bluegreen owners show that analysts routinely deliver
   these types of statements:
             d. “[W]e have won every case we’ve taken and you can quote me on
                that.” P-1519 at 56:35-49 11 (analyst Otto presentation to owner
                Lathrem).
             e. “100% successful, you will be out of your timeshare.” P-1510 at
                30:31-30:44 12 (analyst King presentation to owner Driver).
             f. “And not to brag on us again, but it’s not just the research that
                you guys can do on us that we’ve been doing this for seven years
                with a hundred percent success rate, they know us really well by
                now.” P-1512 at 34:27-34:38 13 (analyst Bickel presentation to
                owner Ivy). This 100% success rate was material to Ms. Ivy. Ivy
                Dep. at 28:17-21.
             g. “It’s very difficult to get out of a timeshare contract. And we’ve
                never lost a case.” P-1514 at 16:50-17:06 14 (analyst Llauger
                presentation to owner Harding). Llauger further told the Hardings:
                “But know that you will – we will -- there’s a 100 percent
                probability we will get you out of this contract.” P-1516 at 26:22-
                26:32. 15
             h. “Now I will tell you that we don’t take every case, but of the cases
                that we do take, we’ve never lost a single case and you can quote
                me on that. These calls are recorded.” P-1527 at 51:43-51:54 16
                (analyst Otto presentation to owner Schupp). These statements
                gave Schupp confidence that Marketing Defendants could get him
                out of his timeshare. Schupp Dep. at 23:18-24:7.

   11 D-0459 at 18-20.
   12 D-0452 at 27:19-20.
   13 D-0454 at 34:4-7.
   14 D-0456 at 15:7-8.
   15 D-0457 at 26:2-5.
   16 D-0461 at 48:17-21.
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             i. “Number two, we don’t accept every case. We only take the cases,
                without a doubt, we know we’re going to win, and, because of that,
                we are 100 percent successful at full resolution.” P-1505 at 23:27-
                24:02 17 (analyst King presentation to owner Braswell).
             j. “So as long as that’s true, which I know they are, we will legally
                and permanently get you out of this timeshare. If you happen to be
                the first person that we don’t win, then of course you’re not going
                to keep paying our service agree on something we can’t get you out
                of, but that has never happened.” P-1518 at 50:05-51:35 18
                (analyst Otto presentation to owner King). After hearing this, Ms.
                King felt that it was virtually certain that Marketing Defendants
                could exit her from her timeshare. King Dep. at 33:25-34:12.
          Numerous timeshare owners acknowledged that Pandora salespersons
   communicated that Pandora has always been successful. Braun Dep. at 28:6-
   12, 29:6-23; Ivy Dep. at 27:21-28:8, 28:17-21; Schupp Dep. at 23:16-24:7;
   King Dep. at 32:14-17, 33:17-34:12; Braswell Dep. at 20:13-16, 21:1-4, 23:7-
   13.
          Moreover, the presenter during an analyst training session, Pandora’s
   senior analyst Jim Baskett, discussed statements about Marketing Defendants’
   success rate. Baskett Confidential Dep. at 70:2-13; 71:22-72:15. He also said
   he routinely tells clients about the success rate, and that having no
   “unresolved cases” is the same thing as having never lost a case. Id. at 18:4-
   19:7. Further, Baskett’s belief in the truth of the success rate was based on
   Folk and Wilson communicating to him that they had no unresolved cases. Id.
   at 16:22-18:3.
          Numerous examples of analyst sales calls, across a range of Pandora
   employees, include reference to the statement that Pandora has a one hundred
   percent success rate or has never lost a case. However, these statements are
   false because:
             k. Grey conceded that Marketing Defendants have had to refund
                timeshare owners for failure to achieve the advertised exit. Trial
                Tr. Vol. I, 240:4-10.
             l. There are Bluegreen owners who are clients of Marketing
                Defendants and who still have active Bluegreen contracts, meaning
                they have not been successfully “exited” from their Bluegreen
                contracts as guaranteed by Marketing Defendants. See Trial Tr.
                Vol. III, 38:20 (Slattery testifying that he presently has 825
                Bluegreen clients).
          Indeed, Grey admitted that these statements are false. Trial Tr. Vol. I,
   240:19-22 (“Q. Okay. So the statement that “Timeshare Compliance is a


   17 D-0447 at 19:16-20.
   18 D-0458 at 49:13-20.
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   hundred percent successful,” that’s a false statement, is it not, Mr. Grey? A.
   Yes . . . .”).
          Owners testified that the representations of complete success were
   material to their decision to hire Marketing Defendants. Braun Dep. at 29:09-
   23; Ivy Dep. at 28:17-2; Schupp Dep. at 23:16-24:7.
          Marketing Defendants’ statements about their success rate gave owners
   more confidence in stopping their payments to Bluegreen. King Dep. at 35:11-
   22; Ivy Dep. at 36:1-11; Harding Dep. at 22:6-10.

      (4) Statements Regarding Timeshare Owner Payment Obligations
         Analysts also make statements regarding the attorney’s effect on an
   owner’s financial timeshare obligations once that owner is referred to the
   attorney.
         The evidence demonstrates that analysts frequently communicate to
   prospective customers that, once the attorney contacts the developer, the
   owner is out or done with the timeshare, and can stop making payments.
             a. These statements are found in multiple analyst scripts, as follows:
                     i. “But here’s the most important part … Once that attorney
                        sends out a cease and desist letter to your develop[er], you
                        are out of your timeshare, because nobody should contact
                        you whatsoever. . . . So in a short period of time you are
                        done with the developer, you’re not making any more
                        payments and your credit is protected.” P-1485, p. 3; P-
                        1480, p. 2.
                    ii. “But here’s the most important part … Once that attorney
                        contacts your developer, you are out of your timeshare,
                        because nobody should contact you whatsoever. . . . So in
                        a short period of time you are done with the developer,
                        you’re not making any more payments.” P-1482, p. 2; P-
                        1486, p. 2; P-1484, p. 2.
             b. This practice is confirmed by emails sent between Marketing
                Defendants’ employees:
                     i. In 2021, employee David Kong sent two emails confirming
                        this practice. Kong stated: “I know we tell them to stop
                        making payments, but wouldn’t stopping their payment
                        just cause the developer to charge whatever card they
                        already have saved to their file to collect their payment? Do
                        we have a way to prevent clients from being charged
                        without their permission if they choose to stop paying?” P-
                        1884. He also stated: “Do you think it’s possible when
                        speaking to clients in the engagement process and when
                        we tell them to stop their payments to the developer to also
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                         mention if they are on autopay to call the developer to get
                         off of autopay?” P-1885 (Emphasis added).
            c. Multiple owners confirmed that the Marketing Defendants told
                them to cease payments immediately upon hiring the defendants.
                     i.  “‘Once you get on board with us, it doesn’t make sense for
                         you to make another payment. Does that make sense.
                         Okay.”‘ … And what did you understand Mr. Llauger to be
                         communicating to you during that portion of the recording?
                         A. That he thought it was okay for us to stop making
                         payments.” Harding Dep. at 27:3-14.
                    ii.  “So I was informed that when you start working to get out
                         of the contract just stop making payments. Q. Who told
                         you to stop making payments? A. The representative from
                         Timeshare.” Tilahun Dep. at 27:5-8.
                   iii.  “‘In a short period of time you’ll be done with your
                         timeshare companies. You’re not making any more
                         payments if you decide to do so, and you’re legally and
                         permanently out of this for you and your family.’ … Q. And
                         what did you understand Mr. Otto to be communicating
                         during that portion of the recording? A. We would be done
                         paying the Bluegreen and Westgate. Q. And did you have a
                         sense of when you would be done making those payments?
                         A. As soon as he said we could stop.” King Dep. at 31:3-17.
            d. A recording of an analyst training presentation included
                instruction on how to communicate to prospective customers the
                claim that once an affiliated attorney sends a cease and desist
                letter to developers, the owner is out of their timeshare and further
                tied the ability to cease payment with the aforementioned credit
                services. P-1977, 3:00 through 4:42.
         Numerous examples of analyst sales calls, across a range of Pandora
   employees, include reference to the statements that an owner can cease
   payments to developers once an attorney contacts the developers.
         Representations that owners are out or done with the timeshare and can
   stop making payments once the attorney contacts the developer are false
   because the attorneys to which Pandora refers Bluegreen owners have no
   process that entitles an owner to cease payments. See supra Section 2.C.(2) at
   h.–m.; P-1438, No. 20; Trial Tr. Vol. III, 86:11-13.
         Many Testifying Owners stated that the Marketing Defendants
   encouraged them to stop payment right away and that the ability to stop
   making payments and/or the promise of credit protection was material to their
   decision to hire Marketing Defendants. See Braswell Dep. at 40:25-41:3;
   Lathrem Dep. at 26:6-8, 11; Driver Dep. at 30:5-8, 30:17-22; King Dep. at
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   25:13-16, 35:17-19, 22; Braun Dep. at 34:19-35:1, 36:15-19; Dixon Dep. at
   25:24-26:1, 26:4; Prosek Dep. at 25:13-18, 56:19-22, 25.
          Numerous owners testified that they stopped paying Bluegreen because
   of the Marketing Defendants’ instructions. Tilahun Dep. at 28:16-19; Braswell
   Dep. at 29:5-6, 29:25-30:2, 30:4-6; Barnett Dep. at 40:21-41:9; Schupp Dep.
   at 21:5-9, 27:3-7; Lathrem Dep. at 29:12-18; Driver Dep. at 17:21-18:5; King
   Dep. at 29:10-15; Freed Dep. at 35:16-21, 24; Marston Dep. at 22:20-25;
   Braun Dep. at 35:8-13, 35:22-23, 36:3; Dixon Dep. at 25:11-23; Prosek Dep. at
   25:23-26:1; Harding Dep. at 19:3-5, 9.

      (5) Statements Regarding Cessation of Payments
         Finally, the trial evidence also demonstrates that analysts often make
   statements to Bluegreen owners that stopping payments on their timeshares
   will make the attorneys’ process “faster,” “quicker,” or “easier.”
         Again, these statements were made in analyst scripts:
            a. “I cannot tell you to stop making payment that would be
               unprofessional and unethical. However, we have found that we are
               able to get you out quicker if you do not make payments.” P-1488,
               p. 2.
         In addition, these statements were made in audio recordings:
            b. “[W]e find it easier and we get you out faster when you’re not
               making your mortgage payments and your maintenance fees . . . .”
               P-1519 at 1:01:48 - 1:02:07 19 (analyst Otto presentation to owner
               Lathrem).
            c. “First of all, uh, as strange as this may sound, our legal team, our
               attorneys have found, we get clients out faster when they don’t --
               we -- they do not make payments. Let me clarify this. We have
               found we get clients out faster, the attorneys have found, we get
               you out faster when you don’t make payments.” D-0449 at 49:9-
               15 (analyst Llauger presentation to owner Braun).
            d. “We find it easier and we get you out faster when you’re not
               making payments on these, okay?” D-0450 at 31:13-15 (analyst
               Otto presentation to owner Dixon).
            e. “Number one, our -- our clients, when they come on board, they
               stop making payments, ‘cause that allows us to get you out of the
               timeshare contract much quicker.” D-0476 at 55:7-10 (analyst
               James Leonard presentation to owner Jeff Clark).
            f. “I can’t give you . . . legal advice like that. That would be highly
               unprofessional and unethical of me. However, we found that we get
               you out quicker when you’re not makin’ those payments.” D-0480



   19 D-0459 at 51:3-5.
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                 at 8:25-9:5 (analyst King presentation to owners Christie Fasick
                 and Matthew Spencer).
          The Testifying Owners heard these statements. See Barnett Dep. at
   20:8-10 (“They said it would be – it makes it easier for the attorney to get us
   out of the contract if we were delinquent.”); King Dep. at 28:23-29:6; Braun
   Dep. at 72:11-13, 18, 20-23; 73:2-4 (“I understood if we quit making payments,
   that it would expedite the process.”); Dixon Dep. at 22:24-23:1; 23:4-8, 11-12;
   Schupp Dep. at 61:14-23.
          These statements were referenced in internal training meetings wherein
   it was discussed that “Regarding developer payments, analysts should state the
   same as we do in the back. ‘Legally, we cannot advise you to stop your
   payments to your developer. However, we have found that our attorneys have
   had more success with contract resolution when clients stop their payments.
   This pertains to both mortgage and maintenance fees.’” P-1574; see also P-
   1497, p. 7 (training manual providing template language to consumers stating
   “our attorneys have much more success in a shorter period of time when a
   client does fall into default”).
          These statements were mentioned in internal training materials which
   include template email language stating “Regarding existing mortgage
   payments owed to your timeshare developer, please know that we cannot
   legally advise you to stop your payments. However, what we can tell you is that
   our attorneys have much more success in a shorter period of time when a
   client does fall into default.” P-1497, p. 7.
          Numerous examples of analyst sales calls, across a range of Pandora
   employees, include reference to the statements that the attorney’s process will
   be faster is they stop making payments.
          Representations that stopping payments on their timeshares will make
   the attorneys’ process “faster,” “quicker,” or “easier” are false because the
   attorneys to which Pandora refers Bluegreen owners have no process that
   entitles an owner to cease payments. Instead, the Lawyer Defendants rely on
   owner non-payment to reach the desired exit. See supra Section 2.C.(2) at h.–
   m.; P-1438, No. 20; Trial Tr. Vol. III, 86:11-13. It is for this reason that the
   Court has already found that “the Lawyer Defendants’ entire relationship with
   the timeshare owners was a sham, as the latter thought they were paying to be
   legally released from their timeshare contracts, when in reality it was their
   defaults that did all the work.” (Summ. J. Order at 34, ECF No. 437.)
          As noted, many Testifying Owners stated that the Marketing Defendants
   encouraged them to stop payment right away and that the ability to stop
   making payments and/or the promise of credit protection was material to their
   decision to hire Marketing Defendants. See Prosek Dep. at 25:9-18; Lathrem
   Dep. at 26:6-11, 29:12-18; King Dep. at 25:7-16, 29:10-15, 35:17-22; Braswell
   Dep. at 29:5-6, 29:25-30:2, 30:4-6, 31:6-9, 40:25-41:3; Driver Dep. at 17:21-
   18:5, 30:5-15, 30:17-22; Schupp Dep. at 21:5-9, 27:3-7, 28:18-20; Marston
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   Dep. at 22:20-25, 23:15-24; Braun Dep. at 34:19-35:1, 35:8-13, 35:22-23;
   36:3, 36:15-19; Prosek Dep. at 25:13-18, 25:23-26:1, 54:22-55:1, 56:19-25;
   Harding Dep. at 19:3-9, 25:1-10; Ivy Dep. at 34:22-35:10; Dixon Dep. at 25:11-
   23, 25:24-26:1, 26:4; Tilahun Dep. at 28:16-19; Barnett Dep. at 40:21-41:9;
   Freed Dep. at 35:16-24.
          Numerous owners testified that they stopped paying Bluegreen because
   of the Marketing Defendants’ instructions. See Tilahun Dep. at 28:16-19;
   Braswell Dep. at 29:5-6, 29:25-30:2, 30:4-6; Barnett Dep. at 40:21-41:9;
   Schupp Dep. at 21:5-9, 27:3-7; Lathrem Dep. at 29:12-18; Driver Dep. at
   17:21-18:5; King Dep. at 29:10-15; Freed Dep. at 35:16-21, 24; Marston Dep.
   at 22:20-25; Braun Dep. at 35:8-13, 35:22-23, 36:3; Dixon Dep. at 25:11-23;
   Prosek Dep. at 25:23-26:1; Harding Dep. at 19:3-5, 9.

      D. Pandora’s Exit Services
          When owners sign up for Marketing Defendants’ services, they agree to
   pay a fee for such services. See P-1001 through P-1191 (Pandora customer
   services agreements charging each owner a fee for services). Pandora’s fee to
   identified Bluegreen owners ranges from $2,785 (P-1145) to $29,453.52 (P-
   1092).
          The fee that Pandora charges owners for its services is typically one third
   of an owner’s outstanding loan balance owed to Bluegreen. Trial Tr. Vol. I,
   231:6-10. In certain cases, the fee may be greater than a third of the loan
   balance. Id. at 233:15-234:3. Pandora does not disclose to its customers that
   they are charged more depending on the amount of debt owed to timeshare
   developers. Id. at 233:9-14.
          After retaining Pandora for the advertised services, Pandora refers
   timeshare owners to an attorney for the purpose of retaining the attorney in
   regard to their timeshare interest. P-1390 at RFA No. 17 (admitting that
   Pandora intended owners referred to Slattery or his associated law firms to
   retain Slattery or such law firms in regard to their timeshare interest); Trial Tr.
   Vol. II, 227:19-22.
          Marketing Defendants’ referral of the timeshare owner to the attorney is
   the sole means by which Marketing Defendants attempt to make good on the
   promise to cancel a customer’s timeshare contract. P-1392 at RFA No. 83
   (admitting that for Bluegreen Owners with a remaining loan balance, Pandora
   presently uses only an attorney to obtain an exit of the owners’ timeshare
   interest).
          Marketing Defendants themselves do not perform any function to obtain
   cancellation or termination of the Bluegreen owner’s timeshare contract. P-
   1392 at RFA No. 83 (admitting that for Bluegreen Owners with a remaining
   loan balance, Pandora presently uses only an attorney to obtain an exit of the
   owners’ timeshare interest). Instead, after getting paid by the timeshare
   owners, Marketing Defendants act as a paralegal for the affiliated attorneys
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   tasked with assembly and transmittal of paperwork. Trial Tr. Vol. I, 250:10-18;
   P-1390 at RFA Nos. 137 (admitting that Pandora used Carlsbad to perform
   services advertised to Bluegreen Owners), 139 (admitting that Pandora referred
   Bluegreen Owners to Carlsbad).
          In reality, the way timeshare owners are “exited” from their timeshare
   obligations is through default; in other words, the owner stops paying their
   timeshare loan. Indeed, whether a Bluegreen owner stops paying the loan
   associated with his or her timeshare contract is integral to Defendants’ ability
   to deliver the advertised termination or cancellation of the financial obligations.
   Defendants are not aware of any Bluegreen customer that has been released
   from their financial contractual obligations while continuing to make loan
   payments. P-1438, No. 20; see also Trial Tr. Vol. III, 86:11-13 (“If you continue
   to make payments to your timeshare, the likelihood of you being released
   based on any complaint that…any lawyer does…is almost zero.”) (emphasis
   added).
          In anticipation of the harm owners might suffer should they stop making
   their payments, Marketing Defendants also refer owners to third-party credit
   protection, repair, and/or restoration services which purport to provide
   monitoring and protection services for an owner that stops payments. P-1393
   at No. 276 (admitting that Pandora referred customers to a third-party credit
   protection service which used a timer similar or comparable to “tradeline
   blocking”). The only need for credit protection related to an owner’s timeshare
   interest is if the owner ceases payment to the developer. Trial Tr. Vol. III,
   110:14-19.

      E. The Lawyer Defendants’ Role
          One of the law firms that Marketing Defendants refer customers to is
   Carlsbad. Trial Tr. Vol. II, 227:19-22. Slattery and Hall are equity partners of
   Carlsbad. Trial Tr. Vol. II, 187:18-21; Trial Tr. Vol. III, 9:18-23.
          Before Carlsbad began accepting clients from Marketing Defendants in
   March 2019, Slattery previously accepted representation of timeshare owners
   through Del Mar Law Group, LLP (“DMLG”) which is a separate Slattery law
   firm. Trial Tr. Vol. III, 12:13-15; P-1491(written referral agreement between
   Pandora and DMLG).
          Slattery visited Pandora’s headquarters and observed employees engaged
   in telephone solicitation efforts. Trial Tr. Vol. III, 82:15-83:10.
          Once an owner signs up with Marketing Defendants, the Marketing
   Defendants collect documents from owners, such as a copy of the owner’s
   timeshare contract, and upload those materials into a shared Google Drive to
   update Lawyer Defendants with information regarding owners. Trial Tr. Vol. II,
   229:11-16; Trial Tr. Vol. III, 18:3-22.
          At some point, Lawyer Defendants specifically requested that Marketing
   Defendants only refer them customers who had retained a credit-protection
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   service, colloquially referred to as a “tradeblock.” P-1393 at RFA No. 277
   (admitting that Slattery requested that he be referred customers who had been
   offered credit protection services or referred to third parties who offer credit
   protection services). This request was made in part because Lawyer
   Defendants did not want to deal with owners’ calls and questions regarding
   credit issues. P-1570 (recording between Slattery and Marketing Defendants
   wherein Slattery reiterates his request that Pandora refer him only those
   owners who have credit repair).
          Marketing Defendants communicate to their customers on behalf of their
   attorneys. P-1390 at RFA No. 86 (admitting that Pandora communicates to its
   customers on behalf of its law firm vendors); P 1497, p. 4 (internal training
   guide stating that Lawyer Defendants “[p]refer[] Clients Send Correspondence
   directly to reps at TSC then we send it to them”).
          Lawyer Defendants rely upon the Marketing Defendants to instruct
   timeshare owners to cease payment to the timeshare developer. P-1979 (email
   from Carlsbad to Pandora stating that Carlsbad “rel[ies] on RAG[to advise the
   clients to stop payment”). Grey testified that Intermarketing Media, LLC d/b/a
   Resort Advisory Group was another timeshare exit entity that relied on Pandora
   to operate its business. Trial Tr. Vol. II, 37:17-38:16. Specifically, that
   Pandora analysts also gave presentations under the name Resort Advisory
   Group. Id. Grey testified that there was no separate training for selling Resort
   Advisory Group’s product compared to Pandora’s product. Id. at 38:17-20.
          After referral to the Lawyer Defendants, Bluegreen owners execute a
   retainer agreement with the Lawyer Defendants (the “Lawyer Defendant
   Retainer Agreements”) that limit the scope of services that Lawyer Defendants
   will provide to the owners. P-1192 through P-1267.
          The Lawyer Defendant Retainer Agreements obligate Lawyer Defendants
   to draft two letters to Bluegreen and “use their best efforts to negotiate a
   resolution with the developer to the extent possible.” See id. These two letters
   are: (1) a letter of representation, and later (2) a cease and desist letter. P-1268
   through P-1388 (boilerplate correspondence sent by Carlsbad to Bluegreen).
          The Lawyer Defendant Retainer Agreements expressly exclude any
   services not enumerated therein, including representation of the timeshare
   owners in foreclosure, judicial, tribunal, or arbitrational actions. P-1192
   through P-1267. The Lawyer Defendant’s Retainer Agreements expressly
   provide that Carlsbad will not represent the timeshare owners in any judicial or
   arbitration actions. Id.
          However, Bluegreen does not respond to these letters, or otherwise
   engage in negotiations. Trial Tr. Vol. I, 56:10-22 (testimony that Bluegreen
   does not negotiate with timeshare exit companies or attorneys that work with
   such companies).
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          Lawyer Defendants do not provide any other legal services for Bluegreen
   owners, for instance, Lawyer Defendants have never initiated litigation or
   arbitration against Bluegreen. Trial Tr. Vol. II, 232:4-6.
          Slattery testified that the purpose of the credit service offered to owners
   is to attempt to create some form of “leverage” through non-payment. Trial Tr.
   Vol. III, 108:16-1.
          For their part, the Lawyer Defendants charge an additional fee to the
   owners. P-1192 through P-1267. Such fee is charged with knowledge that
   Pandora had already charged the owners a fee. Trial Tr. Vol. III, 100:7-9.
   Historically, the lawyer’s fee has been either $600 or $750. P-1192 through P-
   1267. Hall testified that such fee has recently increased to $950. Trial Tr. Vol.
   II, 228:23-229:3.
          The correspondence drafted by Lawyer Defendants on behalf of timeshare
   owners that Pandora refers to them uniformly rely on California law without
   consideration of the owners’ place of residence, where the timeshare contract
   was purchased, where the timeshare property is located, where Bluegreen is
   headquartered, or any choice of law provisions in the relevant timeshare
   contracts. Id. at 238:2-22.
          Such boilerplate correspondence account for less than ten percent of
   Carlsbad’s work but comprise forty percent of their revenue. Trial Tr. Vol. III,
   14:14-22.
          Regardless of how much owners pay Marketing Defendants and Lawyer
   Defendants combined, they will receive the same services. By example:
              a. Marketing Defendants charged owner Barrett $3,998 [P-1012] and
                 Lawyer Defendants charged this owner $750 [P-1198]. 20 In return,
                 Lawyer Defendants drafted a cease-and-desist letter [P-1312] along
                 with a demand letter [P-1279]. This owner ceased payment to
                 Bluegreen eighteen days after retaining the Marketing Defendants.
                 Compare P-1012 with P-0583.
              b. Marketing Defendants charged owner Kern $29,453.52 [P-1092]
                 and Lawyer Defendants charged this owner $750 [P-1234]. In
                 return, Lawyer Defendants similarly drafted a cease-and-desist
                 letter [P-1291] along with a demand letter [P-1333]. This owner
                 ceased payment to Bluegreen twenty-three days after retaining the
                 Marketing Defendants. Compare P-1092 with P-0672.
              c. The “substantive” demand letters for each of the above-referenced
                 owners are nearly identical. Compare P-1279 with P-1333.
                 Neither letter references legal arguments related to the states
                 where such owners reside. Id. Instead, the letters rely nearly
                 exclusively on California law. Id.

   20 Notably, the combined $4,748 paid to the Marketing Defendants and Lawyer Defendants

   together exceeds this owner’s $ 2,837.38 loan balance to Bluegreen. See P-1012, P-1198, P-
   0583.
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             d. No evidence was presented at trial that Kern received anything
                materially different from Barrett despite paying significantly more
                to the Marketing Defendants.
             After Carlsbad sends out the boilerplate correspondence to Bluegreen,
      it makes a notation in the shared Google drive to advise Pandora that such
      letters were sent. Trial Tr. Vol. III, 120:5-16.

      F. The Marketing Defendants’ Revenues and Profit
          At trial, Bluegreen presented evidence that the Relevant Owners paid
   $1,558,958.62 to the Marketing Defendants in consideration of the Marketing
   Defendants’ advertised services. This number is the total aggregate of the
   sums reflected on the Bluegreen timeshare owners’ Service Agreements with
   Pandora. See P-1001 through 1191 (Marketing Defendant services agreements
   stating the fee charged by Marketing Defendants to the Relevant Owners).
          In response, Marketing Defendants offered into evidence the testimony of
   Grey regarding a series of profit and loss statements (the “P&L”) spanning from
   2016 through the time of trial, which Marketing Defendants assert establishes
   a 5.27% profit margin over the life of the company. D-427, p. 28.
          However, Marketing Defendants did not present any testimony that tied
   the specific expenses listed on the P&L to the Marketing Defendants’ sales
   operation as it pertained to Bluegreen timeshare owners. On cross-
   examination, Grey conceded that many of the expenses listed on such exhibit
   had no connection to such advertising. See, e.g., Trial Tr. Vol. III, 175:15-17
   (attorney expenses), 180:17-181:4 (Christmas party); 198:7-17 (income
   deduction based on refund costs). Indeed, Grey noted that some expenses
   were for other, non-timeshare related business ventures. Id. at 191:15-192:6
   (CBD business), 192:7-10 (line items titled as “corporate business
   development” are potentially related to “exploring other business opportunities
   outside of Pandora Marketing”), 192:23-193:8 (real estate flipping venture). As
   to other categories of expenses listed, Grey further conceded that he was
   unable to determine the specific expenses actually incurred referenced within
   such categories without resort to review of additional information outside the
   record. Id. at 173:14-25, 185:7-22, 185:25-186:18.
          No evidence other than Grey’s testimony and the P&L were offered at trial
   with regard to Marketing Defendants’ proposed deduction of costs from their
   revenues.
          Grey testified that Bluegreen timeshare owners constitute “less than
   eight percent” of Marketing Defendants’ total sales. Trial Tr. Vol. I, 252:8-9.
          Moreover, Marketing Defendants did not contend that some portion of
   their revenues were attributable to advertising campaigns or sales
   presentations other than those placed at issue by Bluegreen in this case.
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      G. Harm to Bluegreen
          As a result of the Marketing Defendants’ actions with regard to Bluegreen
   timeshare owners, those Bluegreen timeshare owners ceased paying obligations
   associated with their Bluegreen timeshares, which predictably harmed
   Bluegreen.
          As Mr. Humphrey testified, BVC securitizes most of the loans that are
   originated with Bluegreen timeshare owners who finance the purchase of their
   Bluegreen timeshares. As part of the securitization process, the loans are
   assigned to a special purpose entity (“SPE”). Trial Tr. Vol. I, 32:24-5. BVC
   then borrows against some portion of the future payment stream associated
   with loan receivables for the loans in the SPE. Id. BVC also continues to act
   as the servicer for the loans assigned to the SPE. Id. at 93:2-4.
          As loan payments are received, the majority of the principal and interest
   associated with those payments is paid out to bondholders. The residual
   principal and interest, however, is kept by BVC each month (the “Residual
   Payment”). When a Bluegreen timeshare owner defaults on one of these loans,
   BVC does not receive the Residual Payment associated with that loan.
   Additionally, even though the portion due to the bondholders was not received
   from the Bluegreen timeshare owner, BVC still makes the payment due to the
   bondholder out of its own funds using its Residual Payments from other
   performing loans. Trial Tr. Vol. I, 200:19-23. Therefore, when a securitized
   loan defaults, BVC immediately begins suffering losses in the form of missed
   Residual Payments and additional payments due to the bondholders that BVC
   would not otherwise make. Id. at 82:23-83:15, 183:13-16, 199:1-200:18.
          For some of these defaulted loans, BVC either repurchases the
   delinquent loans in the amount of the unpaid principal balance, or substitutes
   the defaulted loan with another similar loan. Id. at 38:1-17. One reason for
   such repurchase is to avoid reputational injury that jeopardizes Bluegreen’s
   overall ability to complete other securitization transactions. Id. at 96:6-16.
          Plaintiff BVC was injured when Relevant Owners ceased payment on the
   debt associated with the Relevant Contracts as it did not receive the
   outstanding principal balances of such loans. P-0571 through P-0779 (LSAM
   records showing non-payment). Indeed, as outlined in detail above, the
   owners’ testimony evidences that they stopped paying Bluegreen because of the
   Marketing Defendants’ representations. See supra Section 2.C.(1)–(5). BVC also
   loses revenue from servicing loans after they default. Trial Tr. Vol I, 35:16-24.
          The evidence at trial demonstrated that each of the Relevant Owners that
   hired Pandora ceased payment on the Relevant Contracts thereafter. P-0571
   through P-0779 (LSAM records showing non-payment). Each of the Relevant
   Owners have an outstanding unpaid principal loan balance on the notes
   associated with the Relevant Contracts. Id.
          Indeed, fifty percent of the Relevant Contracts became delinquent within
   one month of when the related owner hired the Marketing Defendants while
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   eighty-two percent of the Relevant Contracts became delinquent within three
   months of when the related owner hired the Marketing Defendants. Compare
   Pandora Services Agreements (P-1001 through 1191) (referencing date Relevant
   Owners retained Pandora) with Bluegreen LSAM (P-0571 through P-0779)
   (referencing delinquency date of Relevant Contracts).
          Second, plaintiff BVU is harmed by reacquiring the Bluegreen timeshare
   interests after they become delinquent, and then incurs carrying costs during
   the period after BVU takes title to the interest. BVU also incurs remarketing
   costs associated with selling the re-acquired interest yet again. Trial Tr. Vol. I,
   42:1-7; 42:19-43:1; 118:19-20.
          Finally, following delinquency and recovery of related inventory, such
   inventory must be re-sold but such re-sale deprives Bluegreen of the benefit
   from selling other inventory. Id. at 43:2-4.

      3. Conclusions of Law

      A. Count One: False Advertising in Violation of the Lanham Act

      (1) Violation of the Lanham Act
          “The Lanham Act prescribes liability for false advertising to ‘commercial
    advertising or promotion.’” Tobinick v. Novella, 848 F.3d 935, 950 (11th Cir.
    2017) (quoting 15 U.S.C. § 1125(a)(1)(B)). Bluegreen seeks a verdict in its favor
    on its false advertising claim based on the purportedly false statements made
    by Pandora’s analysts to customers during the telephonic sales presentations
    at the last stage of Pandora’s multi-stage advertising campaign. Thus, the
    Court must first determine whether those sales presentations constitute the
    kind of commercial advertising or promotion addressed by the Lanham Act.
           Commercial advertising or promotion includes “(1) commercial
           speech; . . . [(2)] for the purpose of influencing consumers to
           buy defendant’s goods or services[;]” and [(3)] “the representations
           . . . must be disseminated sufficiently to the relevant purchasing
           public to constitute ‘advertising’ or ‘promotion’ within that
           industry.”
    Id. (cleaned up) (quoting Suntree Techs., Inc. v. Ecosense Int’l, Inc., 693 F.3d
    1338, 1349 (11th Cir. 2012)).
           The parties’ arguments during trial focused on the third element—i.e.,
    whether the sales presentations and the false statements allegedly contained
    therein were sufficiently disseminated to the relevant public to qualify as
    ‘advertising’ or ‘promotion’ within the timeshare industry. On summary
    judgment, the Court concluded that genuine issues of material fact remained
    as to whether the sales presentations at issue were sufficiently disseminated to
    constitute an actionable advertisement or promotion under the Lanham Act.
    The Court now concludes that the statements at issue constitute actionable
    advertising under the Lanham Act.
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           Marketing Defendants advertise their services through a nationwide,
   multi-stage campaign involving various dissemination methods, including
   Pandora’s website, in-person presentations, and social media. The result of
   this comprehensive advertising is the scheduling of timeshare owners to
   speak with an analyst who delivers the sales presentation, an integral part of
   the multi-stage campaign. The sales presentations were thus “part of an
   organized campaign to penetrate the relevant market,” i.e., the market of
   timeshare owners seeking a release from their timeshare obligations. See
   Bracco Diagnostics, Inc. v. Amersham Health, Inc., 627 F. Supp. 2d 384, 461–
   62 (D.N.J. 2009). In addition, as detailed in the Court’s findings of fact and
   conclusions of law, the statements at-issue in the sales presentations were
   widely disseminated. See supra Section 2.C.(1)–(5). In short, even if in varying
   degrees, the evidence has established that the statements at issue appear in
   multiple analyst scripts and other training materials, were made to the
   Testifying Owners with regularity, and appear in the audio recordings
   provided with regularity. See Seven-Up Co. v. Coca-Cola Co., 86 F.3d 1379,
   1385-86 (5th Cir. 1996) (“[F]or purposes of the Lanham Act’s definition of
   ‘commercial advertising or promotion,’ both the required level of circulation
   and the relevant ‘consuming’ or ‘purchasing’ public addressed by the
   dissemination of false information will vary according to the specifics of the
   industry.”).
           Having found that the statements at issue were disseminated sufficiently
   to the relevant purchasing public to constitute advertising or promotion within
   the timeshare exit industry, the Court also finds that the statements
   constituted commercial speech for the purpose of influencing consumers
   to buy the Marketing Defendants’ services. “The core notion of commercial
   speech extends to speech that proposes a commercial transaction” and “[t]he
   Supreme Court has identified three factors in looking beyond the core notion of
   commercial speech: (1) that the material was conceded to be advertisements,
   (2) it contained a reference to a specific product, and (3) the speaker has an
   economic motivation for distributing the material.” Edward Lewis Tobinick, MD
   v. Novella, 848 F.3d 935, 950 (11th Cir. 2017) (cleaned up). This Court has
   already found as undisputed that the analysts “help potential customers decide
   whether the Marketing Defendants’ services are right for them by delivering
   oral sales presentations.” (Summ. J. Order at 2, ECF No. 437.) And, Marketing
   Defendants admit the purpose of the sales presentations is to influence
   timeshare owners to buy their services. Because the sales presentations
   clearly propose a commercial transaction, i.e, timeshare owners paying money
   in exchange for Marketing Defendants’ exit services, and Marketing Defendants
   have an economic motivation in delivering the sales presentations, namely,
   getting timeshare owners to sign up for their services, the Court finds that the
   sales presentations constitute commercial advertising or promotion under the
   Lanham Act.
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           Because the Court has determined that the statements at issue
    constitute actionable advertisements under the Lanham Act, it moves on to
    analyze whether such advertisements meet the other requirements for a
    successful Lanham Act claim. To succeed on a claim for false advertising in
    violation of the Lanham Act, a plaintiff must meet five elements:
          (1)    the advertisements of the opposing party were false or
          misleading; (2) the advertisements deceived, or had the capacity to
          deceive, consumers; (3) the deception had a material effect on
          purchasing decisions; (4) the misrepresented product or service
          affects interstate commerce; and (5) the movant has been—or is
          likely to be—injured as a result of the false advertising.”
    Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256, 1260 (11th Cir. 2004). The
    Court finds that the statements at issue satisfy all these elements.
           The first element is satisfied “if the challenged advertisement is
    literally false, or if the challenged advertisement is literally true, but
    misleading.” Johnson & Johnson Vision Care, Inc. v. 1-800 Contacts, Inc., 299
    F.3d 1242, 1247 (11th Cir. 2002). As detailed in the Court’s findings of fact,
    this element is established in this case. See supra Section 2.C.(1)–(5). By way
    of example, the statements to owners that Marketing Defendants will protect
    their credit with certainty are literally false because many owners who signed
    up for the advertised credit services did in fact experience negative or
    derogatory impacts to their credit as a result of them ceasing payment to
    Bluegreen. In addition, the statements to owners that an attorney will provide
    an exit for them are false or misleading because Lawyer Defendants merely
    send two letters to Bluegreen that they know will not effectuate an exit. They
    then sit back and wait for an owner to default on his or her loan in order for
    the owner to be “exited” from their Bluegreen contract. (See Summ. J. Order at
    27, ECF No. 437 (“In short, the record shows that the Defendants sell a service
    that depends entirely on the timeshare owners defaulting on their contractual
    obligations to Bluegreen.”).) Because the attorneys do not provide an exit for
    owners, rather, owners’ defaults provide the exit, these types of statements are
    deceptive. Moreover, the statements regarding Marketing Defendants’ success
    rate are false, as there are Bluegreen owners who are clients of Marketing
    Defendants and who still have active Bluegreen contracts, meaning they have
    not been successfully “exited” from their Bluegreen contracts as guaranteed by
    Marketing Defendants. Similarly, the statements regarding the effect of the
    attorney’s services on owners’ payment obligations are false or misleading
    since, as explained, an owner stopping payment does not help the attorney’s
    process or make it “faster.” This is because the attorneys have no process for
    getting owners out of their timeshare obligations but rather wait for the owners
    to stop paying and go into default. Moreover, the attorneys to which Marketing
    Defendants refer Bluegreen owners have no process that entitles an owner to
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    cease payments, instead, Marketing Defendants’ service is merely a referral to
    an attorney.
           The statements were also material. “Even if an advertisement is
    literally false, the plaintiff must still establish materiality.” Osmose, Inc. v.
    Viance, LLC, 612 F.3d 1298, 1319 (11th Cir. 2010). “A plaintiff may establish
    this materiality requirement by proving that the defendants misrepresented an
    inherent quality or characteristic of the product.” Diamond Resorts Int’l, Inc. v.
    Aaronson, 371 F. Supp. 3d 1088, 1108 (M.D. Fla. 2019) (cleaned up). The
    false statements regarding attorneys providing the owner’s exit from his or her
    timeshare contract, Pandora’s success rate, and the effect of the attorney’s
    services on the owner’s payment obligations, are all material because they
    each go to the inherent qualities of the Marketing Defendants’ services:
    releasing owners from their timeshare obligations through the use of
    attorneys. Specifically, false statements regarding attorneys providing the exit
    and the false statements regarding the effect of the attorney’s services on
    payment obligations go directly to the Marketing Defendants’ offering of a
    timeshare exit exclusively through attorneys, and what those attorneys can do
    for owners’ timeshare obligations. The false statement regarding Pandora’s
    success rate promises that these services will be successful. Moreover, the
    Testifying Owners testified as to the importance these statements had on their
    hiring decision. As to the statement regarding credit protection, many
    Testifying Owners testified that the ability to stop making payments to
    Bluegreen and/or the ability to have credit protection services were material to
    their decision to choose the Marketing Defendants’ services. The statements
    were thus material under the Lanham Act.
           The false statements also affect interstate commerce. Since the
    Marketing Defendants engage in nationwide advertising and solicit customers,
    via the false statements in the oral presentations, across many states, the false
    statements clearly affect interstate commerce.
           Finally, Bluegreen is injured as a result of the false statements.
    Bluegreen seeks equitable relief—an injunction and disgorgement—as a result
    of its harm suffered by the false statements. The burden for demonstrating
    causation under the Lanham Act is lower for equitable relief and actual
    damages need not be proven. See Hard Candy, LLC v. Anastasia Beverly Hills,
    Inc., 921 F.3d 1343, 1353 (11th Cir. 2019) (explaining disgorgement under the
    Lanham Act “shifts the burden of proving economic injury off the innocent
    party, and places the hardship of disproving economic gain onto the infringer”);
    Ameritox, Ltd. v. Millennium Lab’ys, Inc., No. 8:11-CV-775-T-24-TBM,
    2014 U.S. Dist. LEXIS 51237, at *26, 2014 WL 1456347, at *9 (M.D.
    Fla. Apr. 14, 2014); Newborn Bros. Co. v. Albion Eng’g Co., 481 F. Supp. 3d
    312, 344 (D.N.J. 2020). Bluegreen is injured by the false statements because
    the false statements convince owners that hiring Marketing Defendants will
    result in a successful exit and advertise to owners the ability to stop their
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    payments, without harm to their credit, and with legal assistance. The
    cumulative effect of the false statements is that Bluegreen owners sign up
    with the Marketing Defendants and, pursuant to these statements, stop
    making their payments.
            In addition to the testimony of the Testifying Owners who explained that
    the false statements were material to their decision to hire Marketing
    Defendants and stop paying Bluegreen, Bluegreen presented temporal evidence
    demonstrating that an overwhelming majority of the relevant owners at-issue
    in this matter ceased payment to Bluegreen shortly after exposure to the
    Marketing Defendant presentations. This is sufficient to establish that
    Bluegreen has been harmed by the false statements and is entitled to equitable
    relief.
            Thus, the Court finds that Bluegreen has proven all of the elements of its
    claim for false advertising under the Lanham Act.

      (2) Disgorgement Damages
          Once a violation is established, the Lanham Act provides that a plaintiff
   is entitled, “subject to the principles of equity, to recover (1) defendant’s profits,
   (2) any damages sustained by the plaintiff, and (3) the costs of the action.” 15
   U.S.C. § 1117(a). Disgorgement of profits “is appropriate where: (1) the
   defendant’s conduct was willful and deliberate, (2) the defendant was unjustly
   enriched, or (3) it is necessary to deter future conduct.” Optimum Techs., Inc. v.
   Home Depot U.S.A., Inc., 217 F. App’x 899, 902 (11th Cir. 2007) (citing Howard
   Johnson Co., Inc. v. Khimani, 892 F.2d 1512, 1521 (11th Cir. 1990)).
          The remedies provided for in 15 U.S.C. § 1117(a) are “subject to the
    principles of equity,” and “[i[f the court shall find that the amount of the
    recovery based on profits is . . . excessive the court may in its discretion enter
    judgment for such sum as the court shall find to be just, according to the
    circumstances of the case.” Thus, § 1117(a) specifies that the disgorgement
    awarded “shall constitute compensation and not a penalty.” Id.
          In other words, disgorgement “should not produce . . . a gross disconnect
    between harm and recovery.” KEG Techs., Inc. v. Laimer, 436 F. Supp. 2d 1364,
    1373 (N.D. Ga. 2006) (reducing disgorgement of lost profits which constituted
    a “windfall . . . in contravention of the Lanham Act’s mandate that any
    monetary award ‘constitute compensation and not a penalty’”). While “an
    award of wrongful profits may be appropriate to deter the liable party from
    continuing its wrongful conduct[,] . . . the Lanham Act forbids the court from
    allowing a recovery that is so excessive as to constitute a penalty.” Alexander
    Binzel Corp. v. Nu-Tecsys Corp., No. 91 C 2092, 2000 U.S. Dist. LEXIS 5238, at
    *42-43, 2000 WL 310304, at *14 (N.D. Ill. March 23, 2000) (reducing
    disgorgement award). Awarding all of a defendant’s profits during the relevant
    time period may be inappropriate if the award is “so excessive as to constitute
    a penalty.” Id. Moreover, disgorgement may, at a minimum, be reduced by the
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    deductible costs and expenses to arrive at a defendant’s net profits. 15 U.S.C.
    § 1117(a).
            Equity also requires that the Court consider a plaintiff’s unclean hands.
    See, e.g., 4 Pillar Dynasty LLC v. N.Y. & Co., 933 F.3d 202, 214 (2d Cir. 2019)
    (“[A] district court must still balance equitable factors in assessing the
    propriety of a profits award. These include, but are not limited to: (1) the
    degree of certainty that the defendant benefited from the unlawful conduct; (2)
    the availability and adequacy of other remedies; (3) the role of a particular
    defendant in effectuating the infringement; (4) any delay by plaintiff; and (5)
    plaintiff’s clean (or unclean) hands.”); Victorinox AG v. B&F Sys., 709 F. App’x
    44, 50 n.5 (2d Cir. 2017) (“[T]he Lanham Act . . . subject[s] every award of
    monetary damages to ‘principles of equity,’ 15 U.S.C. § 1117, e.g., unclean
    hands.”). George Basch Co., Inc. v. Blue Coral, Inc., 968 F.2d 1532, 1540-41 (2d
    Cir. 1992) (same); see also Harbor Breeze Corp. v. Newport Landing
    Sportfishing, Inc., No. SACV 17-01613-CJC (DFMx), 2023 U.S. Dist. LEXIS
    43066, at *10, 2023 WL 2652855, at *3 (C.D. Cal. Mar. 13, 2023) (denying
    disgorgement, among other reasons, because “the equitable considerations, in
    the Court’s discretion, do not weigh in favor of disgorgement”); Cesari S.R.L. v.
    Peju Province Winery L.P., No. 17 CIV. 873 (NRB), 2023 U.S. Dist. LEXIS
    169434, at *20, 2023 WL 6173464, at *8 (S.D.N.Y. Sep. 22, 2023) (“[E]ven
    where the infringer failed to produce evidence of either apportionment or cost
    deductions, to avoid a windfall to the mark owner, the court may award its
    own estimate of what is a fair recovery.”).
           Section 1117(a) “gives the district court broad discretion to award
    damages that are appropriate to the facts of the particular case.” Slep-Tone
    Entm’t Corp. v. Johnson, 518 F. App’x 815, 819 (11th Cir. 2013). “Because of
    th[is] broad discretion . . ., ‘the district court’s damage assessment is entitled
    to deference[,]’” and “will not [be] disturb[ed] . . . on appeal unless it is ‘clearly
    inadequate.’” See id. (quoting Ramada Inns, Inc. v. Gadsden Motel Co., 804
    F.2d 1562, 1564 (11th Cir. 1986)). “Moreover, Lanham Act damages may be
    awarded even when they are not susceptible to precise calculations.” Ramada
    Inns, Inc., 804 F.2d at1565 (citing Bangor Punta Operations v. Universal Marine
    Company, 543 F.2d 1107, 1110-11 (5th Cir.1976); Borg-Warner Corporation v.
    York-Shipley, Inc., 293 F.2d 88, 95 (7th Cir.1961)).
           The Court itself already recognized Bluegreen’s reproachable conduct in
    this matter during the trial, noting that the deposed owners testified that
    Bluegreen lied to them, made misrepresentations to them during the sales
    process, pressured them into purchasing and/or upgrading, and otherwise
    defrauded them. See Trial Tr. Vol. IV, 9:16-21. As previously noted, these lies,
    misrepresentations, and high-pressure sales tactics include the following:
               a. False statements that an owner could rent out their timeshares to
                  earn extra money. Id. at 10:8-10.
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              b. False statements that an owner was being offered an exclusive deal
                 that was only available for that day. Id. at 17-19.
              c. Statements that the timeshare ownership interest would increase
                 in value and have great resale value. Id. at 10:25-11:1.
              d. Misrepresentations regarding the financial significance of the
                 maintenance fees. Id. at 11:10-12.
              e. Misrepresentations from the Bluegreen sales representatives
                 regarding the points increment and its significance. Id. at 11:17-
                 19.
              f. Misrepresentations regarding the outside exchange program. Id. at
                 11:24-25.
              g. Sales representatives coerced owners into applying for Bluegreen-
                 branded credit cards. Id. at 12:4-5.
              h. False statements that if an owner upgraded their timeshare they
                 would get greater priority when booking, when in fact they did not.
                 Id. at 12:7-9.
              i. False statements that the Bluegreen sales representative would act
                 as the owner’s personal assistant and be available to them after
                 the sale. Id. at 12:18-21.
              j. Failure on the part of the Bluegreen sales representative to disclose
                 the correct interest rate on the loan. Id. at 12:25-13:1.
              k. Failure on the part of the Bluegreen sales representative to disclose
                 the owner’s right to rescind the timeshare contract. Id. at 13:6-7.
    See also Marketing Defendants’ First and Second Offers of Proof, ECF Nos.
    494, 521 (detailing owners’ complaints about Bluegreen in this case).
           Bluegreen’s position that every single one of these owners’ statements
    regarding their unconscionable treatment at the hands of Bluegreen is false
    and should not be accepted by the Court, but that the same owners’ testimony
    regarding misrepresentations allegedly made by Marketing Defendants is
    entirely true and must be accepted by the Court, is not plausible. See Trial Tr.
    Vol. IV, 13:11-23. As the Court put it, it cannot be true that “these tens of
    thousands or hundreds of thousands of people that are going to these
    timeshare exit companies”—people who are “so dissatisfied with [their
    timeshares] that they’re willing to pay thousands of dollars to get out”—are
    “just all wrong.” Id. at 13:24-14:7.
           But for Bluegreen’s wrongful conduct, owners would not have sought out
    Pandora in an attempt to unburden themselves from a lifetime of limitless and
    ever-increasing maintenance fees and years of high-interest loan payments,
    totaling tens of thousands of dollars, in exchange for illusory timeshare
    accommodations.
           Although Bluegreen is not blameless, this should not totally absolve the
    Marketing Defendants of their disgorgement obligations. After all, the
    principals of Pandora learned of the timeshare companies’ reproachable
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    conduct within the timeshare industry during the time they worked there and
    committed the same misrepresentations. They helped create the victim/owners
    of timeshares, and then used their inside knowledge to victimize the owners a
    second time.
          As noted earlier in this order, Bluegreen presented evidence that the
   Relevant Owners paid $1,558,958.62 to the Marketing Defendants in
   consideration of the Marketing Defendants’ advertised services. This number is
   the total aggregate of the sums reflected on the Bluegreen timeshare owners’
   Service Agreements with Pandora. See P-1001 through 1191 (Marketing
   Defendant services agreements stating the fee charged by Marketing
   Defendants to the Relevant Owners).
          In response, Marketing Defendants offered into evidence the testimony of
   Grey regarding a series of profit and loss statements (the “P&L”) spanning from
   2016 through the time of trial, which Marketing Defendants assert establish a
   5.27% profit margin over the life of the company. But the Defendants’ numbers
   are not reliable.
          Thus, the Court finds that an appropriate amount of disgorgement taking
   into account the harm to Bluegreen as well as Bluegreen’s own conduct is
   $100,000.00.

      B. Count Five: Tortious Interference with Contractual Relations
          “A claim for tortious interference with a contractual or business
   relationship consists of four elements: 1) the existence of a business
   relationship between the plaintiff and a third person, not necessarily evidenced
   by an enforceable contract, under which the plaintiff has legal rights, 2) the
   defendant’s knowledge of the relationship, 3) an intentional and unjustified
   interference with the relationship by the defendant which induces or otherwise
   causes the third person not to perform, and 4) damage to the plaintiff resulting
   from the third person’s failure to perform.” DNA Sports Performance Lab, Inc. v.
   Club Atlantis Condo. Ass’n, 219 So. 3d 107, 110 (Fla. 3d DCA 2017) (citing
   Seminole Tribe of Florida v. Times Pub. Co., Inc., 780 So. 2d 310, 315 (Fla. 4th
   DCA 2001)); see also Sun Life Assurance Co. of Can. v. Imperial Premium Fin.,
   LLC, 904 F.3d 1197, 1215 (11th Cir. 2018) (same); Zimmerman v. D.C.A. at
   Welleby, Inc., 505 So. 2d 1371, 1373 (Fla. 4th DCA 1987) (“It is not essential,
   however, that the business relationship be founded upon an enforceable
   contract.”).
          Previously, Bluegreen moved for summary judgment on its tortious
   interference claim only with respect to the fifteen timeshare owners for whom it
   had provided deposition testimony (again, the “Testifying Owners”). The Court
   granted Bluegreen’s motion, except as to the element of damages. In so doing,
   the Court concluded that the Marketing Defendants knew of the Testifying
   Owners’ contracts with Bluegreen, that the Marketing Defendants, through
   their analysts, intentionally induced the Testifying Owners to stop payments on
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   their contracts with Bluegreen, and that without the Marketing Defendants’
   intervention, the Testifying Owners would not have simply breached their
   agreements with Bluegreen as the way to get out of their timeshare obligations.
   The Court now reaches the same conclusions with respect to Bluegreen’s
   contractual relationships with its other timeshare owners.
           Importantly, Florida courts have held that an independent ground for
   equitable relief may be found in a claim for tortious interference with
   contractual relationships. See Zimmerman v. D.C.A. at Welleby, Inc., 505 So. 2d
   1371, 1376 (Fla. 4th DCA 1987) (“We approve the trial court’s finding that
   some of the activities enjoined constitute or are incident to conduct which
   constitutes intentional interference with potentially advantageous business
   relationships, and that the rights thus tortuously violated are entitled to be
   protected by equitable intervention in the form of a temporary injunction.”);
   Murtagh v. Hurley, 40 So.3d 62, 67 (Fla. Dist. Ct. App. 2010) (denying
   injunctive relief where plaintiff failed to present evidence that demonstrated or
   allowed an inference that defendant’s conduct “had a deleterious effect on”
   plaintiff’s business); Chevaldina v. R.K./FL Mgmt., 133 So. 3d 1086, 1090 (Fla.
   3d DCA 2014) (recognizing availability of injunctive relief where plaintiffs
   alleged intentional interference with advantageous business relationships); see
   also Heavener, Ogier Services, Inc. v. R. W. Florida Region, Inc., 418 So. 2d
   1074, 1075-76 (Fla. 5th DCA 1982) (finding plaintiff entitled to temporary
   injunction against tortious interference with contractual relationship).
           Bluegreen has shown that when a loan defaults, including the
    Testifying Owners’ loans, it is harmed in various ways such as failure to
    receive the outstanding principal loan balance, maintenance fees, carrying
    costs, costs related to the sale and marketing of the reacquired
    timeshare interests, loss of residuals, and more. Bluegreen has thus shown
    injury resulting from Marketing Defendants’ tortious interference with the
    relationship between Bluegreen and its timeshare owners. Because Bluegreen
    seeks only injunctive relief on this claim, it need not show actual damages.

      C. Count Seven: Civil Conspiracy to Commit Tortious Interference
           Under Florida law, success on a clam of civil conspiracy requires proof of
    “(a) an agreement between two or more parties, (b) to do an unlawful act or to
    do a lawful act by unlawful means, (c) the doing of some overt act in
    pursuance of the conspiracy, and (d) damage to plaintiff as a result of the acts
    done under the conspiracy.” United Techs. Corp. v. Mazer, 556 F.3d 1260, 1271
    (11th Cir. 2009) (quoting Charles v. Fla. Foreclosure Placement Ctr., LLC, 988
    So. 2d 1157, 1159-60 (Fla. 3d DCA 2008)). “Each coconspirator need not act to
    further a conspiracy; each ‘need only know of the scheme and assist in it in
    some way to be held responsible for all of the acts of his coconspirators.’”
    Cordell Consultant, Inc. v. Abbott, 561 F. App’x 882, 886 (11th Cir. 2014)
    (quoting Charles, 988 So. 2d at 1160).
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           A civil conspiracy claim also requires an underlying tort. Tejera v. Lincoln
    Lending Servs., LLC, 271 So. 3d 97, 103 (Fla. 3d DCA 2019). “Tortious
    interference with a business relationship can constitute an unlawful act for the
    purposes of pleading a claim for civil conspiracy.” Id.; see also Furmanite Am.,
    Inc. v. T.D. Williamson, Inc., 506 F. Supp. 2d 1134, 1148 (M.D. Fla. 2007)
    (same). The Court has already found that Bluegreen has proven tortious
    interference by Marketing Defendants (see Summ. J. Order at 34, ECF No.
    437; supra Section 2.B.), thus, this requirement is satisfied.
           An agreement for civil conspiracy need not be express, but rather, “may
    be inferred from” the nature of the acts done, the relation between the
    conspirators, their mutual interests in the matter, and other circumstances.
    See Donofrio v. Matassini, 503 So. 2d 1278, 1281 (Fla. 2d DCA 1987). “It is
    only in rare cases that a plaintiff can establish a conspiracy by showing an
    express agreement. Most conspiracies are inferred from the behavior of the
    alleged conspirators.” JES Properties, Inc. v. USA Equestrian, Inc., 253 F.
    Supp. 2d 1273, 1279 (M.D. Fla. 2003) (cleaned up). Notably, “[p]roof that the
    [defendant] committed an act which furthered the purpose of the conspiracy is
    an example of the type of circumstantial evidence [that can] prove the
    existence of an agreement.” Koch v. Royal Wine Merchants, Ltd., 907 F. Supp.
    2d 1332, 1347 (S.D. Fla. 2012) (quoting United States v. Arias–Izquierdo, 449
    F.3d 1168, 1182 (11th Cir. 2006)).
           The evidence here demonstrates that the Marketing Defendants and
    Lawyer Defendants had an agreement to do an unlawful act by unlawful
    means, namely to tortiously interfere with Bluegreen’s contractual
    relationships by convincing Bluegreen owners to stop paying on their loans.
           First, explicit actions demonstrate the Defendants’ agreement.
    Defendant Slattery has had a relationship with the Marketing Defendants for
    years, and previously negotiated business terms with them on behalf of Del
    Mar Group, CLG’s successor entity. Lawyer Defendants rely upon Marketing
    Defendants to manage communication with the timeshare owners and provide
    specific instructions to such owners. Defendants share a “Google Drive” to
    pass information between them, and Marketing Defendants gather owner
    information and documents for Lawyer Defendants’ use.
           Second, the agreement can be implicitly inferred from the Defendants’
    relationship and mutual interests. See Donofrio, 503 So. 2d at 1281. Each
    Defendant group relies on the other to keep the scheme going—Lawyer
    Defendants rely on Marketing Defendants to advertise their legal services,
    send referrals, and induce owners’ nonpayment, and Marketing
    Defendants rely, exclusively, on Lawyer Defendants’ services to advertise and
    purport to accomplish their proffered “legal” exits. (See Summ. J. Order at 19,
    ECF No. 437.) Moreover, Defendants rely on owners’ defaults to achieve the
    exits, such that the defaults are also necessary to the success of the scheme.
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    An agreement to do an unlawful act by unlawful means has thus been
    established.
           An overt act is an act “done in pursuance of the conspiracy.” Francois
    v. Hatami, 565 F. Supp. 3d 1259, 1269 (S.D. Fla. 2021) (cleaned up). “Each
    coconspirator need not act to further a conspiracy; each ‘need only know of
    the scheme and assist in it in some way to be held responsible for all of the
    acts of his coconspirators.’” Cordell Consultant, Inc. v. Abbott, 561 F. App’x
    882, 886 (11th Cir. 2014) (quoting Charles v. Fla. Foreclosure Placement Ctr.,
    LLC, 988 So. 2d 1157, 1159-60 (Fla. 3d DCA 2008)).
           First, Marketing Defendants solicit timeshare owners—including
    Bluegreen Owners—with promises of the ability to legally cancel the owners’
    financial obligations. Marketing Defendants make many overt representations
    to timeshare owners during the sales presentations to convince such owners
    to retain Marketing Defendants.
           Second, Marketing Defendants send referrals of timeshare owners to
    attorneys like the Lawyer Defendants. These referrals are overt acts “in
    furtherance of the conspiracy” as they validate the Marketing Defendants’
    sales presentations. The Court has already determined that absent such
    referral, the scheme would fail. (See Summ. J. Order at 19, ECF No. 437
    (“[T]here is sufficient evidence in the record to establish that the Marketing
    Defendants’ entire scheme would fall short without the services of the Lawyer
    Defendants and others like them.”).) Thus, these referrals, and acceptance of
    the referrals, further the larger conspiracy.
           The purpose of the conspiracy between Defendants is to operate a
    “business model . . . based on offering a service—i.e., legal cancellation of
    timeshare contracts—they do not actually provide.” (Summ. J. Order at 24,
    ECF No. 437.) This is done through the procurement of owners’ defaults on
    their timeshare obligations. As discussed, Bluegreen has shown that it is
    harmed when a loan defaults. Bluegreen has thus shown injury resulting
    from Defendants’ conspiracy. Because Bluegreen seeks only injunctive relief
    on this claim as well, it need not show actual damages.

      D. Count Six: Violation of Florida’s Deceptive and Unfair Trade
         Practices Act
          The Court previously granted summary judgment in favor of Bluegreen
   on its request for injunctive relief pursuant to FDUTPA. And, since then, the
   Court has entered a preliminary injunction in favor of Bluegreen in line with
   that ruling. (ECF Nos. 487, 502.) For some unexplained reason, however,
   Bluegreen now suggests that it seeks additional injunctive relief under this
   Count for the Marketing Defendants’ violation of the California Business and
   Professions Code § 6155. On summary judgment, Bluegreen raised various
   arguments for why the Marketing Defendants’ conduct qualified as a deceptive
   act or unfair trade practice under FDUTPA, including because it violated
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   California Business and Professions Code § 6155. However, in its order, the
   Court specifically explained that, because it had concluded that the
   Defendant’s business practices are deceptive, it declined to address that
   additional point. Because Bluegreen has provided no justification for its
   request that the Court address its § 6155 argument, and, for that matter, no
   reason for how such a ruling would impact its anticipated relief, the Court once
   again declines to address this issue.

      E. Entitlement to and Scope of Injunctive Relief
           Because the conduct giving rise to Bluegreen’s request for injunctive
   relief is essentially the same for all its claims, the Court will address
   Bluegreen’s entitlement to injunctive relief with respect to all the claims
   simultaneously. To obtain a permanent injunction, under the principles of
   equity, Bluegreen is required to establish: (1) irreparable injury; (2) remedies
   available at law, such as monetary damages, are inadequate to compensate for
   that injury; (3) considering the balance of hardships between the plaintiff and
   defendant, a remedy in equity is warranted; and (4) that the public interest will
   not be disserved by a permanent injunction. See eBay, Inc. v. MercExchange,
   LLC, 547 U.S. 388, 391, 126 S. Ct. 1837, 164 L. Ed. 2d 641 (2006); see also
   Liberty Counsel v. Florida Bar Bd of Governors, 12 So.3d 183, 186 n.7 (Fla.
   2009) (“To obtain a permanent injunction, the petitioner must establish a clear
   legal right, an inadequate remedy at law and that irreparable harm will arise
   absent injunctive relief.” (cleaned up)). Accordingly, the standard for a
   permanent injunction is almost the same as for a preliminary injunction,
   except that the movant must show actual success on the merits instead of a
   likelihood of success. See Siegel v. LePore, 234 F.3d 1163, 1213 (11th Cir.
   2000). The decision to grant permanent injunctive relief is an act of equitable
   discretion by the district court. See eBay, 547 U.S. at 391.
           As established by the foregoing discussion, Bluegreen has demonstrated
   actual success on the merits on its claims for relief under the Lanham Act, for
   tortious interference, and for conspiracy to commit tortious interference.
           Moreover, and critically, the Court previously entered an order granting
   Bluegreen’s motion for a preliminary injunction to prohibit the Marketing
   Defendants from engaging in certain conduct relating to their offer of services
   to Bluegreen timeshare owners during the remainder of this action and until
   such time as a final judgment and permanent injunction were issued. (See ECF
   No. 487.) The Court’s order was based on its conclusions at summary
   judgment on the merits of Bluegreen’s request for injunctive relief under
   FDUTPA. In granting Bluegreen’s request for a preliminary injunction, however,
   the Court necessarily found that Bluegreen has demonstrated that it will suffer
   irreparable injury if the injunction did not issue because the Marketing
   Defendants continue to engage in the deceptive business practices, with no
   intention of stopping. Specifically, the Court found that unless enjoined, the
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   Marketing Defendants will continue providing a service that depends entirely
   on their interference with the contractual and business relationship between
   Bluegreen and its customers, and that the ongoing impacts of the Marketing
   Defendants’ conduct, which include not only a loss of customers for Bluegreen,
   but also consumer confusion generally, suffice to satisfy the irreparable harm
   prong of the analysis. (Id. at 3–4.) In addition, the Court concluded that the
   harm suffered by Bluegreen without an injunction outweighs the Marketing
   Defendants’ potential harm if an injunction is entered and that the entry of the
   relief requested would serve the public’s interest.
           Since then, the Court has denied the Marketing Defendants’ request for
   modification or clarification of the preliminary injunction. (See ECF No. 502.)
   After conducting a thorough review of the Marketing Defendants’ submission,
   including the hundreds of pages of supporting exhibits, the Court found that
   the Marketing Defendants had not demonstrated the ability to offer the legal
   cancellation of Bluegreen timeshare owners’ contractual interests.
           The Court now finds that all the foregoing conclusions remain valid, and
   accordingly that Bluegreen is entitled to the entry of a permanent injunction. As
   to the scope of that injunction, the Court finds that the terms of the preliminary
   injunction remain adequate to address the Marketing Defendants’ unlawful
   conduct. Thus, a permanent injunction is entered under those terms, as set
   forth below.

      4. Conclusion
          Based on the foregoing findings of fact and conclusions of law, the Court
   concludes that Bluegreen is entitled to judgment against the Marketing
   Defendants in the amount of $100,000, jointly and severally, which represents
   a disgorgement of Defendants’ profits pursuant to 15 U.S.C. § 1117(a), related
   to the false advertising to Bluegreen timeshare owners.
          Bluegreen is also entitled to permanent injunctive relief against the
   Marketing Defendants as follows:

                             PERMANENT INJUNCTION
          This cause having come to be heard upon the request for a permanent
   injunction by the Plaintiffs Bluegreen Vacations Unlimited, Inc. and Bluegreen
   Vacations Corporation (together, “Bluegreen”), this Court hereby enters the
   following Permanent Injunction:

                                     DEFINITIONS
         1.    As used herein, the “Marketing Defendants” means the Defendants
   Pandora Marketing, LLC; William “Bo” Wilson; and Rich Folk.
         2.    As used herein, “Bluegreen Interest” shall be interpreted broadly to
   include any Bluegreen timeshare interest, Bluegreen points-based program, or
   other Bluegreen vacation ownership interest of any kind, including but not
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   limited to all current Bluegreen timeshare products and all legacy products
   affiliated with Bluegreen.
           3.    As used herein, “Bluegreen Owner” means:
                 a.    a person who owns a Bluegreen Interest; or
                 b.    a person who has an existing payment obligation in favor of
                       Bluegreen; or
                 c.    any owner of a points-based timeshare ownership program
                       denominated as a Bluegreen points-based program.

                                ENJOINED CONDUCT
          It is hereby ORDERED AND ADJUDGED that the Marketing Defendants,
   their officers, employees, agents, affiliated entities, and all persons acting in
   active concert or participation shall be RESTRAINED AND ENJOINED from:
          (1)    making any misrepresentation to a Bluegreen Owner regarding the
   services that the Marketing Defendants, or any lawyer to which the Marketing
   Defendants refer, will provide in connection with a Bluegreen Interest;
          (2)    communicating to a Bluegreen Client, that the Marketing
   Defendants have a 100% success rate, that the Marketing Defendants are
   100% successful, the Marketing Defendants have always gotten Bluegreen
   Owners out of their timeshare, or the Marketing Defendants have never lost a
   case;
          (3)    inducing a Bluegreen Owner to cease payment on an obligation
   associated with a Bluegreen Interest; or
          (4)    offering for sale to any Bluegreen Owner the legal cancellation of a
   Bluegreen Interest unless the Marketing Defendants first demonstrate to the
   Court that the Marketing Defendants have the ability to deliver such service.
            The Court will separately enter a final judgment contemporaneously
   herewith, reserving jurisdiction to consider applications for prevailing party
   attorney’s fees under the claims asserted as may be appropriate.
         Done and ordered at Miami, Florida on October 27, 2023.


                                               _______________________________
                                               Robert N. Scola, Jr.
                                               United States District Judge
